                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE

                                                                )
         In re:                                                 )       Chapter 11
                                                                )
         DAVID’S BRIDAL INC.., et al.,1                         )       Case No. 18-12635 (LSS)
                                                                )
                                                                )       Jointly Administered
                                        Debtors.                )
                                                                )       Re: Docket No. 16, 17 and 102

             FINAL ORDER (I) AUTHORIZING THE DEBTORS TO OBTAIN POSTPETITION
             FINANCING, (II) AUTHORIZING THE DEBTORS TO USE CASH COLLATERAL,
             (III) GRANTING LIENS AND PROVIDING SUPERPRIORITY ADMINISTRATIVE
                  EXPENSE STATUS, (IV) GRANTING ADEQUATE PROTECTION TO THE
                 PREPETITION LENDERS, (V) MODIFYING AUTOMATIC STAY, AND (VI)
                                   GRANTING RELATED RELIEF


                  Upon the motion, dated November 19, 2018 (the “DIP Motion”) of David’s Bridal, Inc.

         (as successor by merger to DBP Holding Corp.) (the “Borrower”) and its debtor affiliates, each

         as a debtor and debtor in possession (collectively, the “Debtors”) in the above-captioned Chapter

         11 cases (collectively, the “Cases”), seeking entry of an order (this “Final Order”) pursuant to

         sections 105, 361, 362, 363, 364(c)(l), 364(c)(2), 364(c)(3), 364(d), 364(e), and 507 of chapter

         11 of title 11 of the United States Code (the “Bankruptcy Code”), Rules 2002, 4001, 6004, and

         9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Rule 4001-2

         of the Local Bankruptcy Rules for District of Delaware (the “Local Rules”), inter alia:

                  (i)       authorizing the Debtors to obtain senior secured postpetition financing on a

         superpriority basis consisting of a senior secured superpriority revolving credit facility in the


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          The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
         number, are: David’s Bridal, Inc. (4563); DB Investors, Inc. (8503); DB Holdco, Inc. (4567); and DB
         Midco, Inc. (3096). The location of the Debtors’ corporate headquarters is 1001 Washington Street,
         Conshohocken, Pennsylvania 19428.


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        aggregate principal amount of up to $125,000,000 (the “DIP ABL Credit Facility,” and all

        amounts extended under the DIP ABL Credit Facility, the “DIP ABL Loans”), including (a) a

        $80,000,000 sublimit for the issuance of letters of credit and (b) a $20,000,000 sublimit for

        swingline loans, pursuant to the terms and conditions of that certain Senior Secured, Super-

        Priority Debtor-In-Possession Credit Agreement (as the same may be amended, restated,

        supplemented, or otherwise modified from time to time, the “DIP ABL Agreement”), by and

        among the Borrower, the Guarantors (as defined in the DIP Agreements), and Bank of America,

        N.A., as administrative agent and collateral agent (in such capacity, the “DIP ABL Agent”), for

        and on behalf of itself and the other lenders party thereto (collectively, including the DIP ABL

        Agent, the “DIP ABL Lenders”), substantially in the form of Exhibit B, attached to the DIP

        Motion2;

                 (ii)      authorizing the Debtors to execute and deliver the DIP ABL Agreement and

        any other agreements and documents related thereto (collectively with the DIP ABL Agreement,

        the “DIP ABL Documents”) and to perform such other acts as may be necessary or desirable in

        connection with the DIP ABL Documents;

                 (iii)     granting the DIP ABL Credit Facility and all obligations owing thereunder and

        under the DIP ABL Documents or otherwise to the DIP ABL Agent and DIP ABL Lenders

        (collectively, and including all “Obligations” as described in the DIP ABL Agreement, the “DIP

        ABL Obligations”) allowed superpriority administrative expense claim status in each of the

        Cases and any Successor Cases (as defined herein);




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          Upon entry of the Interim Order, all Prepetition ABL Obligations (as defined below), including all
        accrued and unpaid interest thereon and fees and expenses, were fully-rolled into the DIP ABL Credit
        Facility and now constitute DIP ABL Obligations hereunder.
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                 (iv)      authorizing the Debtors to obtain senior secured postpetition financing on a

        superpriority basis in the aggregate principal amount of up to $60,000,000 (the “DIP Term Loan

        Facility,” and all amounts extended under the DIP Term Loan Facility, the “DIP Term Loans,”

        and the DIP Term Loan Facility together with the DIP ABL Credit Facility, the “DIP Facilities”),

        consisting of a new money term loan facility, pursuant to the terms and conditions of that certain

        Senior Secured, Super-Priority Term Loan Debtor-in-Possession Credit Agreement (as the same

        may be amended, restated, supplemented, or otherwise modified from time to time, the “DIP

        Term Loan Agreement,” and together with the DIP ABL Agreement, the “DIP Agreements”), by

        and among the Borrower, the Guarantors, and Cantor Fitzgerald Securities, as administrative

        agent and collateral agent (in such capacities, the “DIP Term Loan Agent,” and, together with the

        DIP ABL Agent, the “DIP Agents”) for and on behalf of itself and the other lenders party thereto

        (collectively, including the DIP Term Loan Agent, the “DIP Term Loan Lenders,” and, together

        with the DIP ABL Lenders, the “DIP Lenders”), substantially in the form of Exhibit C attached

        to the DIP Motion;

                 (v)       authorizing the Debtors to execute and deliver the DIP Term Loan Agreement

        and any other agreements and documents related thereto (collectively with the DIP Term Loan

        Agreement, the “DIP Term Loan Documents,” and together with the DIP ABL Documents, the

        “DIP Documents”), by and among the Borrower, the Guarantors, the DIP Term Loan Agent, and

        to perform such other acts as may be necessary or desirable in connection with the DIP Term

        Loan Documents;

                 (vi)      granting the DIP Term Loan Facility and all obligations owing thereunder and

        under the DIP Term Loan Documents to the DIP Term Loan Agent and DIP Term Loan Lenders

        (collectively, and including all “Obligations” as described in the DIP Term Loan Agreement, the


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        “DIP Term Loan Obligations,” and together with the DIP ABL Obligations, the “DIP

        Obligations”) allowed superpriority administrative expense claim status in each of the Cases and

        any Successor Cases;

                 (vii)      granting to the DIP Agents, for the benefit of themselves and the DIP Lenders

        and the other Secured Parties (as defined in the DIP Agreements) under the applicable DIP

        Documents, automatically perfected security interests in and liens on all of the DIP Collateral (as

        defined herein), including, without limitation, all property constituting “Cash Collateral” as

        defined in section 363(a) of the Bankruptcy Code, which liens shall be subject to the priorities

        set forth herein;

                 (viii)     authorizing and directing the Debtors to pay the principal, interest, fees,

        expenses and other amounts payable under the DIP Documents as such become due, including,

        without limitation, letter of credit fees (including issuance and other related charges), continuing

        commitment fees, closing fees, audit fees, appraisal fees, valuation fees, liquidator fees,

        structuring fees, administrative agent’s fees, the reasonable fees and disbursements of the DIP

        Agents’ and DIP Lenders’ attorneys, advisors, accountants and other consultants, all to the extent

        provided in, and in accordance with, the DIP Documents;

                 (ix)       authorizing the Debtors to use, on the terms described herein, the Prepetition

        Collateral (as defined herein), including the Cash Collateral of the Prepetition ABL Parties under

        the Prepetition ABL Documents and the Prepetition Term Loan Parties under the Prepetition

        Term Loan Documents (each as defined herein), and providing adequate protection to the

        Prepetition ABL Parties and Prepetition Term Loan Parties for any diminution in value of their

        respective interests in the Prepetition Collateral, including the Cash Collateral; and




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                 (x)       vacating and modifying the automatic stay imposed by section 362 of the

        Bankruptcy Code to the extent necessary to implement and effectuate the terms and provisions of

        the DIP Documents and this Final Order.

                 The Court having considered the DIP Motion, the exhibits attached thereto, the

        Declaration of Joan Hilson, Executive Vice President and Chief Financial and Operating Officer

        of the Debtors, in Support of Debtors’ Chapter 11 Petitions and First Day Pleadings, the

        Declaration of Stephen Goldstein in Support of Debtors’ Motion for Entry of Interim and Final

        Orders (I) Authorizing the Debtors to Obtain Postpetition Financing, (II) Authorizing the

        Debtors to Use Cash Collateral, (III) Granting Liens and Providing Superpriority Administrative

        Expense Status, (IV) Granting Adequate Protection to the Prepetition Lenders, (V) Modifying the

        Automatic Stay, (VI) Scheduling a Final Hearing, and (VII) Granting Related Relief, the DIP

        Documents, and the evidence submitted and argument made at the interim hearing held on

        November 20, 2018 (the “Interim Hearing”) and the final hearing held on December 18, 2018

        (the “Final Hearing”); and the Court having entered in the Interim Order (I) Authorizing the

        Debtors to Obtain Postpetition Financing, (II) Authorizing the Debtors to Use Cash Collateral,

        (III) Granting Liens and Providing Superpriority Administrative Expense Status, (IV) Granting

        Adequate Protection to the Prepetition Lenders, (V) Modifying the Automatic Stay, (VI)

        Scheduling a Final Heaing, and (VII) Granting Related Relief on November 20, 2018 [Docket

        No. 102] (the “Interim Order”); and notice of the Final Hearing having been given in accordance

        with Bankruptcy Rules 2002, 4001(b), (c) and (d), and all applicable Local Rules; and the Final

        Hearing having been held and concluded; and all objections, if any, to the interim relief

        requested in the DIP Motion having been withdrawn, resolved or overruled by the Court; and it

        appearing that approval of the final relief requested in the DIP Motion is necessary to avoid


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        immediate and irreparable harm to the Debtors and their estates, and otherwise is fair and

        reasonable and in the best interests of the Debtors, their estates and all parties-in-interest, and is

        essential for the continued operation of the Debtors’ businesses and the preservation of the value

        of the Debtors’ assets; and it appearing that the Debtors’ entry into the DIP Agreements is a

        sound and prudent exercise of the Debtors’ business judgment; and after due deliberation and

        consideration, and good and sufficient cause appearing therefor;

        BASED UPON THE RECORD ESTABLISHED AT THE INTERIM HEARING AND

        THE FINAL HEARING, THE COURT MAKES THE FOLLOWING FINDINGS OF

        FACT AND CONCLUSIONS OF LAW:3

                           A.   Petition Date. On November 19, 2018 (the “Petition Date”), each of the

        Debtors filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code with the

        United States Bankruptcy Court for the District of Delaware (the “Court”).

                           B.   Debtors in Possession. The Debtors have continued in the management

        and operation of their businesses and properties as debtors in possession pursuant to sections

        1107 and 1108 of the Bankruptcy Code.

                           C.   Jurisdiction and Venue. This Court has jurisdiction over the Cases, the

        DIP Motion, and the parties and property affected hereby pursuant to 28 U.S.C. §§ 157 and

        1334. Venue for the Cases and proceedings on the DIP Motion is proper before this Court

        pursuant to 28 U.S.C. §§ 1408 and 1409.




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          The findings and conclusions set forth herein constitute the Court’s findings of fact and conclusions of
        law pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule
        9014. To the extent that any of the following findings of fact constitute conclusions of law, they are
        adopted as such. To the extent any of the following conclusions of law constitute findings of fact, they
        are adopted as such.
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                           D.   Committee Formation. As of the date hereof, the United States Trustee

        for the District of Delaware (the “U.S. Trustee”) has not yet appointed an official committee of

        unsecured creditors in these Cases pursuant to section 1102 of the Bankruptcy Code (a

        “Committee”).

                           E.   Notice. Timely, adequate, and sufficient notice under the circumstances

        of the DIP Motion and the Final Hearing has been provided in accordance with the Bankruptcy

        Code, the Bankruptcy Rules, and the Local Rules, and no other or further notice of the DIP

        Motion with respect to the relief requested at the Final Hearing or the entry of this Final Order

        shall be required.

                           F.   Debtors’ Stipulations.       After consultation with their attorneys and

        financial advisors, and without prejudice to the rights of parties-in-interest as set forth in

        paragraph 43 herein, the Debtors, on their behalf and on behalf of their estates, admit, stipulate,

        acknowledge, and agree as follows (paragraphs F(i) through F(xii) below are referred to herein,

        collectively, as the “Debtors’ Stipulations”):

                                (i)    Prepetition ABL Facility. Pursuant to that certain ABL Credit

        Agreement dated as of October 11, 2012 (as amended, restated, supplemented, or otherwise

        modified from time to time, the “Prepetition ABL Agreement,” and collectively with any other

        agreements and documents executed or delivered in connection therewith, each as may be

        amended, restated, supplemented, or otherwise modified from time to time, the “Prepetition ABL

        Documents”), among (a) the Borrower, (b) the guarantors party thereto (the “Prepetition ABL

        Guarantors”), (c) Bank of America, N.A., as administrative agent and collateral agent (in such

        capacity, the “Prepetition ABL Agent”), and (d) the lenders party thereto (including the

        Prepetition ABL Agent, the “Prepetition ABL Lenders,” and collectively with the Prepetition


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        ABL Agent, the “Prepetition ABL Parties”), the Prepetition ABL Lenders provided revolving

        credit and other financial accommodations to, and issued letters of credit for the account of, the

        Borrower pursuant to the Prepetition ABL Documents (the “Prepetition ABL Facility”).

                              (ii)    Prepetition ABL Obligations.       The Prepetition ABL Facility

        provided the Borrower with, among other things, $125,000,000 in aggregate Revolving Credit

        Commitments (as defined in the Prepetition ABL Agreement), including letters of credit and

        swingline loan commitments.       As of the Petition Date, the aggregate principal amount

        outstanding under the Prepetition ABL Facility was not less than $25,700,000 in loans and not

        less than $42,500,000 in issued and outstanding letters of credit (collectively, together with

        accrued and unpaid interest, outstanding letters of credit and bankers’ acceptances, any

        reimbursement obligations (contingent or otherwise) in respect of letters of credit and bankers’

        acceptances, any fees, expenses and disbursements (including, without limitation, attorneys’

        fees, accountants’ fees, auditor fees, appraisers’ fees and financial advisors’ fees, and related

        expenses and disbursements), treasury, cash management, bank product and derivative

        obligations, indemnification obligations, guarantee obligations, and other charges, amounts and

        costs of whatever nature owing, whether or not contingent, whenever arising, accrued, accruing,

        due, owing, or chargeable in respect of any of the Borrower’s or the Prepetition ABL

        Guarantors’ obligations pursuant to the Prepetition ABL Documents, including all “Obligations”

        as defined in the Prepetition ABL Agreement, and all interest, fees, costs and other charges

        allowable under Section 506(b) of the Bankruptcy Code, the “Prepetition ABL Obligations”).

                              (iii)   Prepetition ABL Liens and Prepetition ABL Priority Collateral.

        As more fully set forth in the Prepetition ABL Documents, prior to the Petition Date, the

        Borrower and the Prepetition ABL Guarantors granted to the Prepetition ABL Agent, for the


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        benefit of itself and the Prepetition ABL Lenders, a security interest in and continuing lien on

        (the “Prepetition ABL Liens”) substantially all of their assets and property, including, without

        limitation, (a) a first priority security interest in and continuing lien on the ABL Priority

        Collateral (as defined in that certain Intercreditor Agreement referred to below) (which, for the

        avoidance of doubt, includes Cash Collateral) and all proceeds and products of any of the

        foregoing, in each case whether then owned or existing or thereafter acquired or arising

        (collectively, the “Prepetition ABL Priority Collateral”), and (b) a second priority security

        interest in and continuing lien on the Term Priority Collateral (as defined in the Intercreditor

        Agreement) and proceeds and products of any of the foregoing, in each case whether then owned

        or existing or thereafter acquired (collectively, the “Prepetition Term Priority Collateral,” and

        together with the Prepetition ABL Priority Collateral, the “Prepetition Collateral”), subject only

        to the Prepetition ABL Permitted Prior Liens and the liens of the Prepetition Term Loan Agent

        on the Prepetition Term Priority Collateral.

                              (iv)    Prepetition Term Loan Facility. Pursuant to that certain Credit

        Agreement dated as of October 11, 2012 (as amended, restated or otherwise modified from time

        to time, the “Prepetition Term Loan Agreement,” and collectively with any other agreements and

        documents executed or delivered in connection therewith, each as may be amended, restated,

        supplemented, or otherwise modified from time to time, the “Prepetition Term Loan

        Documents,” and together with the Prepetition ABL Documents, the “Prepetition Documents”),

        among (a) the Borrower, (b) Bank of America, N.A., as administrative agent and collateral agent

        (in such capacity, the “Prepetition Term Loan Agent,” and together with the Prepetition ABL

        Agent, the “Prepetition Agents”), (c) the guarantors thereunder (the “Prepetition Term Loan

        Guarantors” and, together with the Prepetition ABL Guarantors, the “Prepetition Guarantors”),


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        and (d) the lenders party thereto (the “Prepetition Term Loan Lenders,” and collectively with the

        Prepetition Term Loan Agent, the “Prepetition Term Loan Parties,” and together with the

        Prepetition ABL Parties, the “Prepetition Secured Parties”), the Prepetition Term Loan Lenders

        provided term loans to the Borrower (the “Prepetition Term Loan Facility,” and together with the

        Prepetition ABL Facility, the “Prepetition Secured Facilities”).

                              (v)     Prepetition Term Loan Obligations. The Prepetition Term Loan

        Facility provided the Borrower with commitments to provide term loans in the aggregate

        principal amount of up to approximately $520,000,000. As of the Petition Date, the aggregate

        principal amount outstanding under the Prepetition Term Loan Facility was $481,239,196.00

        (collectively, together with accrued and unpaid interest, any fees, expenses and disbursements

        (including, without limitation, attorneys’ fees, accountants’ fees, appraisers’ fees and financial

        advisors’ fees, and related expenses and disbursements), indemnification obligations, and other

        charges, amounts and costs of whatever nature owing, whether or not contingent, whenever

        arising, accrued, accruing, due, owing, or chargeable in respect of any of the Borrower’s and the

        Prepetition Term Loan Guarantors’ obligations pursuant to the Prepetition Term Loan

        Documents, including all “Obligations” as defined in the Prepetition Term Loan Agreement, and

        all interest, fees, costs and other charges allowable under Section 506(b) of the Bankruptcy

        Code, the “Prepetition Term Loan Obligations,” and together with the Prepetition ABL

        Obligations, the “Prepetition Secured Obligations”).

                              (vi)    Prepetition Term Loan Liens and Prepetition Term Priority

        Collateral. As more fully set forth in the Prepetition Term Loan Documents, prior to the Petition

        Date, the Borrower and Prepetition Term Loan Guarantors granted to the Prepetition Term Loan

        Agent, for the benefit of itself and the Prepetition Term Loan Lenders, a security interest in and


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        continuing lien on (the “Prepetition Term Loan Liens,” and together with the Prepetition ABL

        Liens, the “Prepetition Liens”) substantially all of their assets and property, including, without

        limitation, (a) a first priority security interest in and continuing lien on the Prepetition Term

        Priority Collateral, and (b) a second priority security interest in and continuing lien on the

        Prepetition ABL Priority Collateral, subject only to the Prepetition Term Loan Permitted Prior

        Liens and the liens of the Prepetition ABL Agent on the Prepetition ABL Priority Collateral.

                               (vii)   Priority of Prepetition Liens; Intercreditor Agreement.           The

        Prepetition Agents and others entered into that certain Intercreditor Agreement dated as of

        October 11, 2012 (as may be further amended, restated, supplemented, or otherwise modified in

        accordance with its terms, the “Intercreditor Agreement”) to govern the respective rights,

        interests, obligations, priority, and positions of the Prepetition Secured Parties with respect to the

        assets and properties of the Debtors and other obligors. Each of the Borrower and Prepetition

        Guarantors acknowledged and agreed to the Intercreditor Agreement.

                               (viii) Validity, Perfection and Priority of Prepetition ABL Liens and

        Prepetition ABL Obligations. The Debtors acknowledge and agree that as of the Petition Date

        (a) the Prepetition ABL Liens on the Prepetition Collateral were valid, binding, enforceable, non-

        avoidable and properly perfected and were granted to, or for the benefit of, the Prepetition ABL

        Parties for fair consideration and reasonably equivalent value; (b) the Prepetition ABL Liens

        were senior in priority over any and all other liens on the Prepetition Collateral, subject only to

        (1) the Prepetition Term Loan Liens on the Prepetition Term Priority Collateral, and (2) liens

        senior by operation of law or permitted by the Prepetition ABL Documents (solely to the extent

        any such liens were valid, properly perfected, non-avoidable and senior in priority to the

        Prepetition ABL Liens as of the Petition Date, the “Prepetition ABL Permitted Prior Liens”); (c)


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        the Prepetition ABL Obligations constitute legal, valid, binding, and non-avoidable obligations

        of the Debtors enforceable in accordance with the terms of the applicable Prepetition ABL

        Documents; (d) no offsets, challenges, objections, defenses, claims or counterclaims of any kind

        or nature to any of the Prepetition ABL Liens or Prepetition ABL Obligations exist, and no

        portion of the Prepetition ABL Liens or Prepetition ABL Obligations is subject to any challenge

        or    defense      including,   without   limitation,   avoidance,   disallowance,    disgorgement,

        recharacterization, or subordination (equitable or otherwise) pursuant to the Bankruptcy Code or

        applicable non-bankruptcy law; (e) the Debtors and their estates have no claims, objections,

        challenges, causes of action, and/or choses in action, including without limitation, avoidance

        claims under Chapter 5 of the Bankruptcy Code or applicable state law equivalents or actions for

        recovery or disgorgement, against any of the Prepetition ABL Parties or any of their respective

        affiliates, agents, attorneys, advisors, professionals, officers, directors and employees arising out

        of, based upon or related to the Prepetition ABL Facility; (f) the Debtors have waived,

        discharged, and released any right to challenge any of the Prepetition ABL Obligations, the

        priority of the Debtors’ obligations thereunder, and the validity, extent, and priority of the liens

        securing the Prepetition ABL Obligations; and (g) the Prepetition ABL Obligations constitute

        allowed, secured claims within the meaning of sections 502 and 506 of the Bankruptcy Code.

                                 (ix)    Validity, Perfection and Priority of Prepetition Term Loan Liens

        and Prepetition Term Loan Obligations. The Debtors further acknowledge and agree that, as of

        the Petition Date, (a) the Prepetition Term Loan Liens on the Prepetition Collateral were valid,

        binding, enforceable, non-avoidable and properly perfected and were granted to, or for the

        benefit of, the Prepetition Term Loan Parties for fair consideration and reasonably equivalent

        value; (b) the Prepetition Term Loan Liens were senior in priority over any and all other liens on


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        the Prepetition Collateral, subject only to (1) the Prepetition ABL Liens on the Prepetition ABL

        Priority Collateral, and (2) liens senior by operation of law or permitted by the Prepetition Term

        Loan Documents (solely to the extent any such liens were valid, properly perfected, non-

        avoidable and senior in priority to the Prepetition Term Loan Liens as of the Petition Date, the

        “Prepetition Term Loan Permitted Prior Liens” and, together with the Prepetition ABL Permitted

        Prior Liens, the “Permitted Prior Liens”); (c) the Prepetition Term Loan Obligations constitute

        legal, valid, binding, and non-avoidable obligations of the Debtors enforceable in accordance

        with the terms of the applicable Prepetition Term Loan Documents; (d) no offsets, challenges,

        objections, defenses, claims or counterclaims of any kind or nature to any of the Prepetition

        Term Loan Liens or Prepetition Term Loan Obligations exist, and no portion of the Prepetition

        Term Loan Liens or Prepetition Term Loan Obligations is subject to any challenge or defense

        including, without limitation, avoidance, disallowance, disgorgement, recharacterization, or

        subordination (equitable or otherwise) pursuant to the Bankruptcy Code or applicable non-

        bankruptcy law; (e) the Debtors and their estates have no claims, objections, challenges, causes

        of action, and/or choses in action, including without limitation, avoidance claims under Chapter

        5 of the Bankruptcy Code or applicable state law equivalents or actions for recovery or

        disgorgement, against any of the Prepetition Term Loan Parties, or any of their respective

        affiliates, agents, attorneys, advisors, professionals, officers, directors and employees arising out

        of, based upon or related to the Prepetition Term Loan Facility; (f) the Debtors have waived,

        discharged, and released any right to challenge any of the Prepetition Term Loan Obligations, the

        priority of the Debtors’ obligations thereunder, and the validity, extent, and priority of the liens

        securing the Prepetition Term Loan Obligations; and (g) the Prepetition Term Loan Obligations




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        constitute allowed, secured claims within the meaning of sections 502 and 506 of the Bankruptcy

        Code.

                                (x)     Default by the Debtors. The Debtors acknowledge and stipulate

        that the Debtors have, since October 15, 2018, been and are in default of their obligations under

        the Prepetition ABL Documents and that from the Petition Date interest was accruing on the

        Prepetition ABL Obligations at the default rate since October 15, 2018.

                                (xi)    Senior Notes.    Pursuant to that certain Indenture dated as of

        October 11, 2012 (as amended, restated, supplemented or otherwise modified from time to time,

        the “Senior Notes Indenture”) among the Borrower and Wilmington Trust, National Association,

        as trustee (in such capacity, the “Indenture Trustee”), the Borrower issued $270,000,000 in

        senior unsecured notes (the “Senior Notes”). As of the Petition Date, the aggregate principal

        amount of Senior Notes outstanding was $270,000,000.

                                (xii)   Cash Collateral. All of the Debtors’ cash, including any cash in

        deposit accounts of the Debtors, wherever located, constitutes Cash Collateral of the Prepetition

        Secured Parties.

                           G.   Permitted Prior Liens. Nothing herein shall constitute a finding or ruling

        by this Court that any alleged Permitted Prior Lien is valid, senior, enforceable, prior, perfected

        or non-avoidable. Moreover, nothing shall prejudice the rights of any party-in-interest, including

        the Debtors, the DIP Agents, the Prepetition Secured Parties, or a Committee (if appointed), to

        challenge the validity, priority, enforceability, seniority, avoidability, perfection or extent of any

        alleged Permitted Prior Lien and/or security interests. The right of a seller of goods to reclaim

        such goods under section 546(c) of the Bankruptcy Code is not a Permitted Prior Lien, rather,

        any such alleged claim arising or asserted as a right of reclamation (whether asserted under


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        section 546(c) of the Bankruptcy Code or otherwise) shall have the same rights and priority with

        respect to the DIP Liens as such claim had with the Prepetition Liens.

                           H.   Intercreditor Agreement. Pursuant to section 510 of the Bankruptcy

        Code, the Intercreditor Agreement (as the same may be amended, modified or acknowledged)

        and any other applicable intercreditor or subordination provisions contained in any of the

        Prepetition Documents (i) shall remain in full force and effect, (ii) shall continue to govern the

        relative priorities, rights and remedies of the Prepetition Secured Parties (including the relative

        priorities, rights and remedies of such parties with respect to the replacement liens and

        administrative expense claims and superpriority administrative expense claims granted, or

        amounts payable, by the Debtors under this Final Order or otherwise and the modification of the

        automatic stay), and (iii) shall not be deemed to be amended, altered or modified by the terms of

        this Final Order or the DIP Documents, unless expressly set forth herein or therein. Repayment

        or the “roll-up” of the Prepetition ABL Obligations pursuant to the Interim Order and this Final

        Order shall not be deemed to constitute a “discharge” of Prepetition ABL Obligations as that

        term is used in the Intercreditor Agreement.

                           I.   Findings Regarding Postpetition Financing

                                (i)    Request for Postpetition Financing. The Debtors seek authority on

        a final basis to (a) enter into the DIP Facilities on the terms described herein and in the DIP

        Documents, and (b) use Cash Collateral on the terms described herein to administer their Cases

        and fund their operations.

                                (ii)   Priming of the Prepetition Liens. The priming of the Prepetition

        Liens on the Prepetition Collateral under section 364(d) of the Bankruptcy Code, as

        contemplated by the DIP Facilities and as further described below, will enable the Debtors to


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        obtain the DIP Facilities and to continue to operate their businesses to the benefit of their estates

        and creditors. The Prepetition Secured Parties are each entitled to receive adequate protection as

        set forth in this Final Order pursuant to sections 361, 363, and 364 of the Bankruptcy Code for

        any diminution in value (“Diminution in Value”) of each of their respective interests in the

        Prepetition Collateral (including Cash Collateral).

                               (iii)   Need for Postpetition Financing and Use of Cash Collateral.

        Since the Petition Date the Debtors have had an immediate and critical need to use Cash

        Collateral and to continue obtaining credit pursuant to the DIP Facilities in order to, among other

        things, enable the orderly continuation of their operations, to administer and preserve the value

        of their estates and to prosecute the transactions contemplated under the Restructuring Support

        Agreement (as defined in the DIP Motion). The ability of the Debtors to maintain business

        relationships with their vendors, suppliers and customers, to pay their employees and otherwise

        finance their operations requires the availability of working capital from the DIP Facilities and

        the use of Cash Collateral, the absence of either of which would immediately and irreparably

        harm the Debtors, their estates, and parties-in-interest. The Debtors do not have sufficient

        available sources of working capital and financing to operate their businesses or maintain their

        properties in the ordinary course of business without the DIP Facilities and authorized use of

        Cash Collateral.

                               (iv)    No Credit Available on More Favorable Terms.             Given their

        current financial condition, financing arrangements, and capital structure, the Debtors have been

        and continue to be unable to obtain financing from sources other than the DIP Lenders on terms

        more favorable than the DIP Facilities. The Debtors are unable to obtain unsecured credit

        allowable under Bankruptcy Code section 503(b)(1) as an administrative expense. The Debtors


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        have also been unable to obtain: (a) unsecured credit having priority over that of administrative

        expenses of the kind specified in sections 503(b), 507(a) and 507(b) of the Bankruptcy Code; (b)

        credit secured solely by a lien on property of the Debtors and their estates that is not otherwise

        subject to a lien; or (c) credit secured solely by a junior lien on property of the Debtors and their

        estates that is subject to a lien. Financing on a postpetition basis is not otherwise available

        without granting the DIP Agents, for the benefit of themselves and the DIP Lenders: (1)

        perfected security interests in and liens on (each as provided herein) the DIP Collateral (as

        specified herein) with the priorities set forth in paragraph 6 hereof, (2) superpriority claims and

        liens, and (3) the other protections set forth in this Final Order.

                                (v)      Use of proceeds of the DIP Facilities. As a condition to entry into

        the DIP Agreements, the extension of credit under the DIP Facilities and the authorization to use

        Cash Collateral, the DIP Agents, the DIP Lenders, and the Prepetition Secured Parties require,

        and the Debtors have agreed, that proceeds of the DIP Facilities shall be used, in each case in a

        manner consistent with the terms and conditions of this Final Order and the DIP Documents and

        in accordance with the budget (as the same may be modified from time to time consistent with

        the terms of the DIP Documents, and subject to such variances as permitted in the DIP

        Agreements, and as set forth in paragraph 21 hereof, the “Budget”),4 solely for: (a) working

        capital and letters of credit, (b) other general corporate purposes of the Debtors; (c) permitted

        payment of costs of administration of the Cases; (d) payment of such other prepetition

        obligations as consented to by the DIP Agents (with respect to the DIP Term Loan Agent, with

        the consent of the Required Lenders (as defined in the DIP Term Credit Agreement)), each in its

        sole discretion, and as approved by the Court; (e) payment of interest, fees and expenses

        4
          A copy of the initial Budget is attached hereto as Exhibit 2 (the “Initial Budget”), which constitutes the
        “Approved Budget” under each of the DIP Agreements.
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        (including without limitation, legal and other professionals’ fees and expenses of the DIP Agents

        and DIP Lenders) owed under the DIP Documents as set forth in paragraph 36 hereof; (f)

        payment of certain adequate protection amounts to the Prepetition Secured Parties, as set forth in

        paragraphs 16-17 hereof; (g) the roll-up of the Prepetition ABL Obligations into DIP ABL

        Obligations, subject to the rights preserved in paragraph 43 of this Final Order; (h) payment of

        outstanding DIP ABL Obligations; and (i) payment of the Carve Out. The roll-up of the

        Prepetition ABL Obligations into DIP ABL Obligations in accordance with the Interim Order

        and approved on a final basis in this Final Order was necessary as the Prepetition ABL Parties

        would not have otherwise consented to the use of their Cash Collateral or the subordination of

        their liens to the DIP Liens, and the DIP ABL Agent and the DIP ABL Lenders will not

        otherwise consent to providing the DIP ABL Credit Facility and extending credit to the Debtors

        thereunder.        In addition, the roll-up of the Prepetition ABL Obligations is subject to the

        reservation of rights in paragraph 43 below, will not prejudice the rights of any party in interest.

                                  (vi)    Application of Proceeds of Collateral. As a condition to entry into

        the DIP Agreements, the extension of credit under the DIP Facilities and authorization to use

        Cash Collateral, the Debtors, the DIP Agents, the DIP Lenders, and the Prepetition Secured

        Parties have agreed that as of and commencing on the date of the Interim Hearing, the Debtors

        shall apply the proceeds of DIP Collateral in accordance with the Interim Order and this Final

        Order.

                                  (vii)   Roll-up Loans. Immediately upon entry of the Interim Order and

        the occurrence of the Closing Date (as defined in the DIP Agreements), all of the Prepetition

        ABL Obligations were converted into DIP ABL Obligations (the “DIP Roll-Up Obligations”).

        The conversion (or “roll-up”) was authorized, and is hereby authorized on a final basis, as


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        compensation for, in consideration for, and solely on account of, the agreement of the Prepetition

        ABL Lenders to fund amounts under the DIP ABL Credit Facility and not as payments under,

        adequate protection for, or otherwise on account of, any Prepetition Obligations.

        Notwithstanding any other provision of this Final Order, the DIP Agreements or the Intercreditor

        Agreement, all rights of the Prepetition ABL Lenders shall be fully preserved. The Prepetition

        ABL Parties would not otherwise consent to the use of their Cash Collateral or the subordination

        of their liens to the DIP ABL Liens, and the DIP Agents and the DIP Lenders would not be

        willing to provide the respective DIP Facilities or extend credit to the Debtors thereunder without

        the inclusion of the DIP Roll-Up Obligations in the DIP Obligations. Moreover, the “roll-up” of

        all outstanding Prepetition ABL Obligations into DIP ABL Obligations pursuant to the Interim

        Order, and approved on a final basis in this Final Order, has resulted in interest savings to the

        Debtors and their estates and, because they are subject to the reservation of rights in paragraph

        43 below, will not prejudice the right of any party in interest.

                           J.   Adequate Protection. The Prepetition ABL Agent, for the benefit of

        itself and the Prepetition ABL Parties, and the Prepetition Term Loan Agent, for the benefit of

        itself and the Prepetition Term Loan Parties, are each entitled to receive adequate protection to

        the extent of any Diminution in Value of their respective interests in the Prepetition Collateral as

        set forth in this Final Order.

                           K.   Sections 506(c) and 552(b). In light of (i) the DIP Agents’ and DIP

        Lenders’ agreement that their liens and superpriority claims shall be subject to the Carve Out; (ii)

        the Prepetition ABL Parties’ agreement that their liens shall be subject to the Carve Out and

        subordinate to the DIP ABL Liens and, in the case of the Prepetition Term Priority Collateral,

        subordinate to the DIP Term Loan Liens; and (iii) the Prepetition Term Loan Parties’ agreement


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        that their liens shall be subject to the Carve Out and subordinate to the DIP Term Loan Liens

        and, in the case of the Prepetition ABL Priority Collateral, subordinate to the DIP ABL Liens, (a)

        the Prepetition Secured Parties are each entitled to a waiver of any “equities of the case”

        exception under section 552(b) of the Bankruptcy Code, and (b) the DIP Agents, DIP Lenders,

        and Prepetition Secured Parties are each entitled to a waiver of the provisions of section 506(c)

        of the Bankruptcy Code.

                           L.   Good Faith of the DIP Agents and DIP Lenders.

                                (i)    Willingness to Provide Financing.          The DIP Lenders have

        indicated a willingness to provide financing to the Debtors subject to: (a) entry of the Interim

        Order and this Final Order; (b) approval of the terms and conditions of the DIP Facilities and the

        DIP Documents; (c) satisfaction of the closing conditions set forth in the DIP Documents; and

        (d) findings by this Court that the DIP Facilities are essential to the Debtors’ estates, that the DIP

        Agents and DIP Lenders are extending credit to the Debtors pursuant to the DIP Documents in

        good faith, and that the DIP Agents’ and DIP Lenders’ claims, superpriority claims, security

        interests and liens and other protections granted pursuant to the Interim Order, this Final Order

        and the DIP Documents will have the protections provided by section 364(e) of the Bankruptcy

        Code.

                                (ii)   Business Judgment and Good Faith Pursuant to Section 364(e).

        The terms and conditions of the DIP Facilities and the DIP Documents, and the fees paid and to

        be paid thereunder, are fair, reasonable, and the best available to the Debtors under the

        circumstances, are ordinary and appropriate for secured financing to debtors in possession,

        reflect the Debtors’ exercise of prudent business judgment consistent with their fiduciary duties,

        and are supported by reasonably equivalent value and consideration. The terms and conditions


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        of the DIP Facilities and the use of Cash Collateral were negotiated in good faith and at arms’

        length among the Debtors, DIP Agents, DIP Lenders, and Prepetition Secured Parties, with the

        assistance and counsel of their respective advisors. Use of Cash Collateral and credit to be

        extended under the DIP Facilities shall be deemed to have been allowed, advanced, made, or

        extended in good faith by the DIP Agents, DIP Lenders, and Prepetition Secured Parties within

        the meaning of section 364(e) of the Bankruptcy Code.

                           M.   Final Hearing. Notice of the Final Hearing and the relief requested in the

        DIP Motion has been provided by the Debtors, whether by facsimile, electronic mail, overnight

        courier or hand delivery, to certain parties-in-interest, including: (i) the U.S. Trustee, (ii) those

        entities or individuals included on the Debtors’ list of 30 largest unsecured creditors on a

        consolidated basis, (iii) counsel to the Prepetition ABL Agent, (iv) counsel to the Prepetition

        Term Loan Agent; and (v) all other parties entitled to notice under the Local Rules. The Debtors

        have made reasonable efforts to afford the best notice possible under the circumstances and no

        other notice is required in connection with the relief set forth in this Final Order.

                 Based upon the foregoing findings and conclusions, the DIP Motion and the record

        before the Court with respect to the DIP Motion, and after due consideration and good and

        sufficient cause appearing therefor,

                 IT IS HEREBY ORDERED that:

                           1.   Final Financing Approved.        The DIP Motion is granted, the Final

        Financing (as defined herein) is authorized and approved, and the use of Cash Collateral on a

        final basis is authorized, subject to the terms and conditions set forth in the DIP Documents and

        this Final Order. All objections to the DIP Motion and this Final Order to the extent not

        withdrawn, waived, settled or resolved are hereby denied and overruled.


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        DIP Facilities Authorization

                           2.   Authorization of the DIP Facilities. The DIP Facilities, including the DIP

        Roll-Up Obligations, are hereby approved on a final basis. The Debtors are expressly and

        immediately authorized and        empowered to continue incurring and performing the DIP

        Obligations in accordance with, and subject to, the terms of the Interim Order, this Final Order

        and the DIP Documents, and to continue delivering all instruments, certificates, agreements, and

        documents which may be required or necessary for the performance by the Debtors under the

        DIP Facilities and the creation and perfection of the DIP Liens (as defined herein) described in

        and provided for by the Interim Order, this Final Order and the DIP Documents, including,

        without limitation, each Guarantor providing its joint and several guarantee of all of the DIP

        Obligations. The Debtors are hereby authorized and directed to continue paying, in accordance

        with the Interim Order and this Final Order, the principal, interest, fees, payments, expenses and

        other amounts described in the DIP Documents as such amounts become due and without need to

        obtain further Court approval, including, without limitation, closing fees, arrangement fees, letter

        of credit fees (including issuance, fronting, and other related charges), unused facility fees,

        continuing commitment fees, backstop fees, servicing fees, audit fees, appraisal fees, liquidator

        fees, structuring fees, administrative agent’s fees and collateral agent’s fees, the reasonable fees

        and disbursements of the DIP Agents’ and DIP Lenders’ attorneys, advisors, accountants, and

        other consultants, whether or not such fees arose before or after the Petition Date, and whether or

        not the transactions contemplated hereby are consummated, to implement all applicable reserves

        and to continue taking any other actions that may be necessary or appropriate, all to the extent

        provided in this Final Order or the DIP Documents. All collections and proceeds, whether from

        ordinary course collections, asset sales, debt or equity issuances, insurance recoveries,

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        condemnations or otherwise, will be deposited and applied as required by this Final Order and

        the DIP Documents. The DIP Documents represent valid and binding obligations of the Debtors,

        enforceable against each of the Debtors and their estates in accordance with their terms.

                           3.   Authorization to Borrow. In order to prevent immediate and irreparable

        harm to the Debtors’ estates, from the entry of this Final Order through and including the

        Termination Declaration (as defined below), and subject to the terms, conditions, limitations on

        availability and reserves set forth in the DIP Documents and this Final Order, the Debtors are

        hereby authorized to continue requesting and obtaining extensions of credit (in the form of loans

        and letters of credit) up to an aggregate outstanding principal amount of not greater than

        $125,000,000 at any one time outstanding under the DIP ABL Credit Facility, and $60,000,000

        at any one time outstanding under the DIP Term Loan Credit Facility (together, the “Final

        Financing”).

                           4.   DIP Obligations.    The DIP Documents and this Final Order shall

        constitute and evidence the validity and binding effect of the Debtors’ DIP Obligations, which

        shall be enforceable against the Debtors, their estates and any successors thereto, including

        without limitation, any trustee appointed in the Cases, or in any case under Chapter 7 of the

        Bankruptcy Code upon the conversion of any of the Cases, or in any other proceedings

        superseding or related to any of the foregoing (collectively, the “Successor Cases”). The DIP

        Obligations include all loans, letter of credit reimbursement obligations, and any other

        indebtedness or obligations, contingent or absolute, which may now or from time to time be

        owing by any of the Debtors to the DIP Agents or any of the DIP Lenders, under the DIP

        Documents, the Interim Order or this Final Order, including, without limitation, all principal,

        accrued interest, costs, fees, expenses and other amounts owing under the DIP Documents.


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        Without limiting the foregoing, the DIP ABL Obligations shall also include cash management

        and bank product exposure and derivative and swap exposure and obligations to the extent

        provided under the DIP Documents. All letters of credit issued for the account of the Debtors

        under the Prepetition ABL Agreement shall continue in place and all obligations under or in

        connection with such letters of credit shall be subject to the DIP ABL Agreement and shall

        constitute DIP ABL Obligations. The Debtors shall be jointly and severally liable for the DIP

        Obligations. The DIP Obligations shall be due and payable, without notice or demand, and the

        use of Cash Collateral shall automatically cease on the DIP Termination Date (as defined

        herein), except as provided in paragraph 31 herein. No obligation, payment, transfer, or grant of

        collateral security hereunder or under the DIP Documents (including any DIP Obligation or DIP

        Liens (as defined below), and including in connection with any adequate protection provided to

        the Prepetition Secured Parties hereunder) shall be voidable or recoverable, under the

        Bankruptcy Code or under any applicable law (including, without limitation, under sections

        502(d), 544, and 547 to 550 of the Bankruptcy Code or under any applicable state Uniform

        Voidable Transactions Act, Uniform Fraudulent Transfer Act, Uniform Fraudulent Conveyance

        Act, or similar statute or common law), or subject to any avoidance, reduction, setoff,

        recoupment, offset, recharacterization, subordination (whether equitable, contractual, or

        otherwise), counterclaim, cross-claim, defense, or any other challenge under the Bankruptcy

        Code or any applicable law or regulation by any person or entity.

                           5.   DIP Liens. In order to secure the DIP Obligations pursuant to sections

        361, 362, 364(c)(2), 364(c)(3), and 364(d) of the Bankruptcy Code, the DIP Agents, for the

        benefit of themselves and the DIP Lenders, were granted upon entry of the Interim Order, and

        are hereby granted on a final basis, continuing, valid, binding, enforceable, non-avoidable, and


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        automatically and properly perfected postpetition security interests in and liens on (collectively,

        the “DIP Liens”) all real and personal property, whether now existing or hereafter arising and

        wherever located, tangible and intangible, of each of the Debtors (the “DIP Collateral”),

        including without limitation: (a) all cash, cash equivalents, deposit accounts, securities accounts,

        accounts, other receivables (including credit card receivables), chattel paper, contract rights,

        inventory (wherever located), instruments, documents, securities (whether or not marketable)

        and investment property (including, without limitation, (i) all of the issued and outstanding

        capital stock or equivalents of each of its subsidiaries, including issued and outstanding capital

        stock or equivalents of each of David’s Bridal Canada Inc. and David’s Bridal UK Limited and

        all proceeds thereof (collectively, such capital stock or equivalents, the “Foreign Stock”), and (ii)

        to the extent the applicable parties have provided consent or have been deemed to consent to a

        lien on the applicable JV Interest (as defined below), the Debtors’ applicable capital stock or

        equivalents in (1) Executive Management Limited, a limited company incorporated in Hong

        Kong, (2) Fillberg, Ltd., a limited company incorporated in Hong Kong, (3) Wingreat Limited, a

        limited company incorporated in Hong Kong and (4) Maxtel Limited, a limited company

        incorporated in Hong Kong, and all proceeds, products and offspring thereof (collectively, such

        capital stock or equivalents the “JV Interests”)), hedge agreements, furniture, fixtures, equipment

        (including documents of title), goods, franchise rights, trade names, trademarks, servicemarks,

        copyrights, patents, license rights, intellectual property, general intangibles (including, for the

        avoidance of doubt, payment intangibles), rights to the payment of money (including, without

        limitation, tax refunds and any other extraordinary payments), supporting obligations,

        guarantees, letter of credit rights, commercial tort claims, causes of action and all substitutions,

        indemnification rights, all present and future intercompany debt, fee interests in real property


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        owned by the Debtors, books and records related to the foregoing, accessions and proceeds of the

        foregoing, wherever located, including insurance or other proceeds, (b) all owned real property

        and all proceeds of leased real property, (c) all proceeds of actions brought under section 549 of

        the Bankruptcy Code to recover any post-petition transfer of DIP Collateral; (d) all proceeds of

        any avoidance actions brought pursuant to Chapter 5 of the Bankruptcy Code or applicable state

        law equivalents, (e) proceeds of the Debtors’ rights under section 506(c) (solely to the extent

        such rights result from the use of the DIP Facilities or the DIP Collateral, and are, therefore,

        enforceable against parties other than the DIP Agents, DIP Lenders or Prepetition Secured

        Parties) and 550 of the Bankruptcy Code, and (f) all DIP Collateral that was not otherwise

        subject to valid, perfected, enforceable and unavoidable liens on the Petition Date.          DIP

        Collateral that is of a type that would be ABL Priority Collateral (as defined in the Intercreditor

        Agreement), the other collateral described as DIP ABL Priority Collateral below, and the

        proceeds, products and offspring thereof shall, in each case, shall constitute “DIP ABL Priority

        Collateral,” and DIP Collateral that is of a type that would be Term Priority Collateral (as

        defined in the Intercreditor Agreement), the other collateral described as DIP Term Priority

        Collateral below, and the proceeds, products and offspring thereof shall, in each case, constitute

        “DIP Term Priority Collateral.” For the avoidance of doubt, (i) DIP ABL Priority Collateral

        shall include proceeds of the Debtors’ rights under sections 506(c) and 550 of the Bankruptcy

        Code, solely to the extent such rights are enforceable against DIP ABL Priority Collateral;

        (ii) the Debtors’ owned real property shall not secure the DIP ABL Obligations or the Prepetition

        ABL Obligations; and (iii) DIP Term Priority Collateral shall include (1) the Foreign Stock,

        (2) any JV Interest for which the applicable consent has been provided (or has been deemed to

        have been provided), (3) all owned real property, (4) the proceeds, products and offspring of


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        (A) the Debtors’ real property leases and (B) any JV Interest for which the applicable consent

        has not been provided (and has not been deemed to have been provided), and (5) proceeds of the

        Debtors’ rights under sections 506(c) and 550 of the Bankruptcy Code, solely to the extent such

        rights are enforceable against DIP Term Priority Collateral.        In addition, proceeds of any

        avoidance actions brought pursuant to chapter 5 of the Bankruptcy Code or applicable state law

        equivalents shall be shared DIP Collateral, and the DIP ABL Liens and the DIP Term Liens

        (each as defined below) on such proceeds shall rank equally in priority and share such proceeds

        pro rata (based on the outstanding principal amount of the respective DIP Facilities at the time

        of the distribution of such proceeds to the DIP Agents for the benefit of the DIP Lenders). The

        DIP Term Obligations, at the option of the Required Lenders (as defined in the DIP Term Loan

        Credit Agreement), to be exercised in their sole and absolute discretion, but subject in all

        respects to the DIP Documents and the priorities and provisions set forth in this Final Order,

        shall be repaid (a) first, from DIP Term Priority Collateral that was not subject to any valid,

        perfected, non-avoidable and enforceable lien in existence on or as of the Petition Date and

        (b) second, from all other DIP Collateral. Notwithstanding the foregoing, DIP Collateral shall

        not include (a) real property leases, (b) to the extent the applicable parties have not provided

        consent and have not been deemed to consent to a lien on the applicable JV Interest, such

        applicable JV Interest, (c) any leasehold interest (or any rights or interests thereunder) the grant

        of a lien on which, notwithstanding the Bankruptcy Code, shall constitute or result in the

        abandonment, invalidation or unenforceability of any right, title or interest of the obligor under

        any lease governing such leasehold interest or a breach or termination pursuant to the terms of,

        or a default under, any such lease, (d) avoidance actions brought pursuant to Chapter 5 of the

        Bankruptcy Code or applicable state law equivalents, or (e) the Debtors’ rights under section


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        506(c) or 550 of the Bankruptcy Code; provided, however, that DIP Collateral shall include

        proceeds of all of the foregoing.

                           6.   DIP Lien Priority. The DIP Liens securing the DIP ABL Obligations (the

        “DIP ABL Liens”) are valid, automatically perfected, non-avoidable, senior in priority and

        superior to any security, mortgage, collateral interest, lien or claim to any of the DIP Collateral,

        except that the DIP ABL Liens shall be subject to the Carve Out and shall otherwise be junior

        only to: (i) as to the DIP ABL Priority Collateral, Prepetition ABL Permitted Prior Liens; and (ii)

        as to the DIP Term Priority Collateral, (A) Prepetition ABL Permitted Prior Liens; (B) the DIP

        Term Loan Liens (as defined herein); (C) the Prepetition Term Loan Liens; and (D) the

        Prepetition Term Adequate Protection Liens. The DIP Liens securing the DIP Term Loan

        Obligations (the “DIP Term Loan Liens”) are valid, automatically perfected, non-avoidable,

        senior in priority and superior to any security, mortgage, collateral interest, lien or claim to any

        of the DIP Collateral, except that the DIP Term Loan Liens shall be subject to the Carve Out and

        shall otherwise be junior only to: (i) as to the DIP Term Priority Collateral, Prepetition Term

        Loan Permitted Prior Liens; and (ii) as to the DIP ABL Priority Collateral, (A) Prepetition Term

        Loan Permitted Prior Liens; (B) the DIP ABL Liens; (C) the Prepetition ABL Liens; and (D) the

        Prepetition ABL Adequate Protection Liens. Other than as set forth herein or in the DIP

        Documents, the DIP Liens shall not be made subject to or pari passu with any lien or security

        interest heretofore or hereinafter granted in the Cases or any Successor Cases, and shall be valid

        and enforceable against any trustee appointed in the Cases or any Successor Cases, upon the

        conversion of any of the Cases to a case under Chapter 7 of the Bankruptcy Code (or in any other

        Successor Case), and/or upon the dismissal of any of the Cases or Successor Cases. The DIP

        Liens shall not be subject to section 510, 549 or 550 of the Bankruptcy Code. No lien or interest


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        avoided and preserved for the benefit of the estate pursuant to section 551 of the Bankruptcy

        Code shall be pari passu with or senior to the DIP Liens.

                           7.   Superpriority Claims.    The DIP Agents and DIP Lenders are hereby

        granted on a final basis, pursuant to Section 364(c)(1) of the Bankruptcy Code, allowed

        superpriority administrative expense claims in each of the Cases and any Successor Cases

        (collectively, the “DIP Superpriority Claims”) for all DIP Obligations. Except as set forth

        herein, the DIP Superpriority Claims shall have priority over any and all other obligations,

        liabilities and indebtedness of each Debtor, including without limitation any and all

        administrative expense claims and unsecured claims against the Debtors or their estates in any of

        the Cases and any Successor Cases, at any time existing or arising, of any kind or nature

        whatsoever, including, without limitation, administrative expenses of the kinds specified in or

        ordered pursuant to Bankruptcy Code Sections 105, 326, 328, 330, 331, 364, 503(a), 503(b),

        507(a), 507(b), 546(c), 546(d), 726, 1113 and 1114, and any other provision of the Bankruptcy

        Code, as provided under Section 364(c)(1) of the Bankruptcy Code; provided, however, that the

        DIP Superpriority Claims shall be pari passu with each other, without otherwise impairing the

        lien priorities as set forth herein, and shall be subject to the Carve Out and senior to the Adequate

        Protection Superpriority Claim. No lien or interest avoided and preserved for the benefit of the

        estate pursuant to section 551 of the Bankruptcy Code shall be pari passu with or senior to the

        DIP Superpriority Claims.

                           8.   No Obligation to Extend Credit. The DIP Agents and DIP Lenders shall

        have no obligation to make any loan or advance, or to issue, amend, renew or extend any letters

        of credit or bankers’ acceptance under the DIP Documents, unless all of the conditions precedent

        to the making of such extension of credit or the issuance, amendment, renewal or extension of


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        such letter of credit or bankers’ acceptance under the DIP Documents have been satisfied in full

        or waived by the DIP ABL Agent or the DIP Term Loan Agent (with the consent of the Required

        Lenders), as applicable, each in its sole discretion, and in accordance with the terms of the DIP

        ABL Agreement and the DIP Term Loan Agreement.

                           9.    Use of Proceeds of DIP Facilities. From and after the Petition Date, the

        Debtors shall use advances of credit under the DIP Facilities, in accordance with the Budget,

        only for the purposes specifically set forth in this Final Order and the DIP Documents, and in

        compliance with the terms and conditions in this Final Order and the DIP Documents.

                           10.   Roll-Up of Loans. Upon entry of the Interim Order and the occurrence of

        the Closing Date, all Prepetition ABL Obligations (including, without limitation, all outstanding

        letters of credit) were converted and “rolled-up” into DIP Roll-Up Obligations, and such DIP

        Roll-Up Obligations now constitute DIP ABL Obligations. The conversion and roll-up of all

        Prepetition ABL Obligations is hereby approved on a final basis.

        Authorization to Use Cash Collateral

                           11.   Authorization to Use Cash Collateral. Subject to the terms and conditions

        of this Final Order, the DIP Facilities and the DIP Documents and in accordance with the

        Budget, the Debtors are authorized to use Cash Collateral until the DIP Termination Date (as

        defined herein); provided, however, that during the Remedies Notice Period (as defined herein)

        the Debtors may use Cash Collateral solely to meet payroll obligations and pay expenses critical

        to the administration of the Debtors’ estates strictly in accordance with the Budget, and as

        otherwise agreed by the DIP Agents (with respect to the DIP Term Loan Agent, with the consent

        of the Required Lenders) in their sole discretion. Nothing in this Final Order shall authorize the

        disposition of any assets of the Debtors or their estates outside the ordinary course of business, or

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        any Debtor’s use of any Cash Collateral or other proceeds resulting therefrom, except as

        permitted in this Final Order and the DIP Documents.

                           12.   Adequate Protection Liens.

                                 (a)    Prepetition ABL Adequate Protection Liens. Pursuant to Sections

        361, 363(e) and 364(d) of the Bankruptcy Code, as adequate protection of the interests of the

        Prepetition ABL Parties in the Prepetition Collateral against any Diminution in Value of such

        interests in the Prepetition Collateral, the Debtors hereby grant to the Prepetition ABL Agent, for

        the benefit of itself and the Prepetition ABL Parties, continuing valid, binding, enforceable and

        perfected postpetition security interests in and liens on the DIP Collateral (the “Prepetition ABL

        Adequate Protection Liens”).

                                 (b)    Prepetition Term Adequate Protection Liens. Pursuant to Sections

        361, 363(e) and 364(d) of the Bankruptcy Code, as adequate protection of the interests of the

        Prepetition Term Loan Parties in the Prepetition Collateral against any Diminution in Value of

        such interests in the Prepetition Collateral, the Debtors hereby grant to the Prepetition Term

        Loan Agent, for the benefit of itself and the Prepetition Term Loan Parties, continuing valid,

        binding, enforceable and perfected postpetition security interests in and liens on the DIP

        Collateral (the “Prepetition Term Adequate Protection Liens,” and together with the Prepetition

        ABL Adequate Protection Liens, the “Adequate Protection Liens”).

                           13.   Priority of Adequate Protection Liens.

                                 (a)    The Prepetition ABL Adequate Protection Liens shall be subject to

        the Carve Out and shall otherwise be junior only to: (i) with respect to the DIP ABL Priority

        Collateral, (1) Prepetition ABL Permitted Prior Liens; (2) the DIP ABL Liens; and (3) the

        Prepetition ABL Liens; and (ii) with respect to the DIP Term Priority Collateral, (1) Prepetition


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        ABL Permitted Prior Liens; (2) the DIP Term Loan Liens; (3) the Prepetition Term Loan Liens;

        (4) the Prepetition Term Adequate Protection Liens; (5) the DIP ABL Liens; and (6) the

        Prepetition ABL Liens. The Prepetition ABL Adequate Protection Liens shall be senior to all

        other security interests in, liens on, or claims against any of the Debtors’ assets.

                               (b)     The Prepetition Term Adequate Protection Liens shall be subject to

        the Carve Out and shall otherwise be junior only to: (i) with respect to the DIP ABL Priority

        Collateral (1) Prepetition Term Loan Permitted Prior Liens; (2) the DIP ABL Liens; (3) the

        Prepetition ABL Liens; (4) the Prepetition ABL Adequate Protection Liens; and (5) the DIP

        Term Loan Liens; and (ii) with respect to the DIP Term Priority Collateral (1) Prepetition Term

        Loan Permitted Prior Liens and (2) the DIP Term Loan Liens. The Prepetition Term Adequate

        Protection Liens shall be senior to all other security interests in, liens on, or claims against any of

        the Debtors’ assets.

                               (c)     Except as provided herein, the Adequate Protection Liens shall not

        be made subject to or pari passu with any lien or security interest heretofore or hereinafter in the

        Cases or any Successor Cases, and shall be valid and enforceable against any trustee appointed in

        any of the Cases or any Successor Cases, or upon the dismissal of any of the Cases or Successor

        Cases. The Adequate Protection Liens shall not be subject to sections (a) 510 of the Bankruptcy

        Code with respect to the Prepetition Obligations, and (b) 549 or 550 of the Bankruptcy Code.

        No lien or interest avoided and preserved for the benefit of the estate pursuant to section 551 of

        the Bankruptcy Code shall be pari passu with or senior to the Prepetition Liens or the Adequate

        Protection Liens.




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                           14.   Adequate Protection Superpriority Claims.

                                 (a)    Prepetition ABL Superpriority Claim.         As further adequate

        protection of the interests of the Prepetition ABL Parties in the Prepetition Collateral against any

        Diminution in Value of such interests in the Prepetition Collateral, the Prepetition ABL Agent,

        on behalf of itself and the Prepetition ABL Parties, is hereby granted as and to the extent

        provided by section 507(b) of the Bankruptcy Code an allowed superpriority administrative

        expense claim in each of the Cases and any Successor Cases (the “Prepetition ABL Superpriority

        Claim”).

                                 (b)    Prepetition Term Loan Superpriority Claim. As further adequate

        protection of the interests of the Prepetition Term Loan Parties in the Prepetition Collateral

        against any Diminution in Value of such interests in the Prepetition Collateral, the Prepetition

        Term Loan Agent, on behalf of itself and the Prepetition Term Loan Parties, is hereby granted as

        and to the extent provided by section 507(b) of the Bankruptcy Code an allowed superpriority

        administrative expense claim in each of the Cases and any Successor Cases (the “Prepetition

        Term Loan Superpriority Claim,” and together with the Prepetition ABL Superpriority Claim,

        the “Adequate Protection Superpriority Claims”).

                           15.   Priority of the Adequate Protection Superpriority Claims. Except as set

        forth herein, the Adequate Protection Superpriority Claims shall have priority over all

        administrative expense claims and unsecured claims against the Debtors or their estates, now

        existing or hereafter arising, of any kind or nature whatsoever, including, without limitation,

        administrative expenses of the kinds specified in or ordered pursuant to Sections 105, 326, 328,

        330, 331, 503(a), 503(b), 507(a), 506(c), 507(b), 546(c), 546(d), 726, 1113 and 1114 of the

        Bankruptcy Code; provided, however, that the Adequate Protection Superpriority Claims shall be


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        pari passu with each other, without otherwise impairing the lien priorities as set forth herein, and

        subject to the Carve Out, and junior to the DIP Superpriority Claims.

                           16.   Adequate Protection Payments and Protections for Prepetition ABL

        Parties. As further adequate protection (the “Prepetition ABL Adequate Protection Payments”),

        the Debtors are authorized and directed to provide adequate protection to the Prepetition ABL

        Parties in the form of payment in cash (and as to fees and expenses, without the need for the

        filing of a formal fee application) of, subject to paragraph 43 hereof (i) interest at the non-default

        rate (provided that, for the avoidance of doubt, interest shall cease to accrue under the Prepetition

        ABL Documents upon the roll-up of the Prepetition ABL Obligations as provided in the Interim

        Order), (ii) principal due under the Prepetition ABL Documents to the extent outstanding,

        subject to the rights preserved in paragraph 43 below, (iii) immediately upon entry of the Interim

        Order, payment of reasonable and documented fees and expenses (including the reasonable and

        documented fees, expenses, and disbursements of counsel, financial advisors, auditors, third-

        party consultants, and other vendors) incurred by the Prepetition ABL Agent arising prior to the

        Petition Date, including reasonable and documented fees and expenses of (1) Morgan, Lewis &

        Bockius LLP, (2) Richards, Layton & Finger, PA and (3) Berkeley Research Group, LLC

        (collectively, the “ABL Advisors”), and (iv) in accordance with the procedures set forth in

        paragraph 36 hereof, the reasonable and documented fees and expenses (including the reasonable

        and documented fees, expenses, and disbursements of counsel, financial advisors, auditors, third-

        party consultants, and other vendors) incurred by the Prepetition ABL Agent arising subsequent

        to the Petition Date, including reasonable and documented fees and expenses of the ABL

        Advisors; provided, however, during the continuance of an Event of Default, any such payments

        to the Prepetition ABL Parties shall be made solely from DIP ABL Priority Collateral. Upon


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        commencement of a Challenge (as defined herein), the Debtors are further authorized and

        directed to pay to the Prepetition ABL Agent, for the benefit of the Prepetition ABL Parties,

        $250,000 into a non-interest bearing account maintained at Bank of America, N.A. (the

        “Prepetition ABL Indemnity Reserve”) to secure contingent indemnification, reimbursement or

        similar continuing obligations arising under or related to the Prepetition ABL Documents (the

        “Prepetition ABL Indemnity Obligations”). (A) The Prepetition ABL Indemnity Reserve shall

        secure all costs, expenses, and other amounts (including reasonable and documented attorneys’

        fees) incurred by the Prepetition ABL Agent and the Prepetition ABL Lenders in connection

        with or responding to (1) formal or informal inquiries and/or discovery requests, any adversary

        proceeding, cause of action, objection, claim, defense, or other challenge as contemplated in

        paragraph 43 hereof, or (2) any Challenge against the Prepetition ABL Agent or Prepetition ABL

        Lenders related to the Prepetition ABL Documents, the Prepetition ABL Obligations, or the

        Prepetition ABL Liens granted to the Prepetition ABL Agent, as applicable, whether in these

        Cases or independently in another forum, court, or venue; (B) the Prepetition ABL Indemnity

        Obligations shall be secured by a first lien on the Prepetition ABL Indemnity Reserve and the

        funds therein and by a lien on the Prepetition Collateral (subject in all respects to the

        Intercreditor Agreement); (C) subject to paragraph 36 below, the Prepetition ABL Agent and

        Prepetition ABL Lenders may apply amounts in the Prepetition ABL Indemnity Reserve against

        the Prepetition ABL Indemnity Obligations as and when they arise, without further notice to or

        consent from the Debtors, the Committee, or any other parties in interest and without further

        order of this Court; and (D) until the Challenge Deadline (as defined below), the Prepetition

        ABL Agent (for itself and on behalf of the Prepetition ABL Lenders) shall retain and maintain

        the Prepetition ABL Liens granted to the Prepetition ABL Agent as security for the amount of


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        any Prepetition ABL Indemnity Obligations not capable of being satisfied from application of

        the funds on deposit in the Prepetition ABL Indemnity Reserve; provided, that (i) any such

        indemnification claims shall be subject to (a) the terms of the Prepetition ABL Documents and

        (b) the rights of parties in interest with requisite standing to object to any such indemnification

        claim(s) are hereby reserved in accordance with paragraph 43 hereof, and (ii) the Court shall

        reserve jurisdiction to hear and determine any such disputed indemnification claim(s). The

        Prepetition ABL Indemnity Reserve shall be subject to the DIP Liens and the Adequate

        Protection Liens, subject to the priority set forth herein. The Prepetition ABL Indemnity Reserve

        shall be released and the funds applied in accordance with paragraph 24 of this Final Order upon

        the indefeasible payment in full in cash of the Prepetition ABL Indemnity Obligations or the

        withdrawal or dismissal of the applicable Challenge.

                           17.   Adequate Protection Payments and Protections for Prepetition Term Loan

        Parties. As further adequate protection (the “Prepetition Term Adequate Protection Payments,”

        and together with the Prepetition ABL Adequate Protection Payments, the “Adequate Protection

        Payments”), the Debtors are authorized and directed to provide adequate protection to the

        Prepetition Term Loan Parties in the form of (A) payment in cash (and as to fees and expenses,

        without the need for the filing of a formal fee application) of (i) accrued interest at the non-

        default rate due under the Prepetition Term Loan Documents (paid monthly); (ii) immediately

        upon entry of the Interim Order, the reasonable and documented fees and expenses (including the

        reasonable and documented fees, expenses, and disbursements of counsel, financial advisors,

        auditors, third-party consultants, and other vendors) incurred by the Prepetition Term Loan

        Parties arising prior to the Petition Date (including any fees, disbursements and expenses relating

        to preparing a bid to acquire the Debtors’ assets), including reasonable and documented fees and


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        expenses of (1) Jones Day, (2) Greenhill & Co. LLC, (3) Pachulski Stang Ziehl & Jones LLP,

        (4) Paul, Weiss, Rifkind, Wharton & Garrison LLP, (5) Moelis & Company, (6) Cozen

        O’Connor, P.C., and (7) Cahill Gordon & Reindel LLP (collectively, the “Term Loan

        Advisors”); and (iii) in accordance with the procedures set forth in paragraph 36 hereof, the

        reasonable and documented fees and expenses (including the reasonable and documented fees,

        expenses, and disbursements of counsel, financial advisors, auditors, third-party consultants, and

        other vendors) incurred by the Prepetition Term Loan Parties arising subsequent to the Petition

        Date (including any fees, disbursements and expenses relating to preparing a bid to acquire the

        Debtors’ assets), including reasonable and documented fees and expenses of the Term Loan

        Advisors; provided, however, that during the continuance of an Event of Default, any such

        payments to the Prepetition Term Loan Parties shall be made solely from the DIP Term Priority

        Collateral and (B) payment in kind of accrued interest at the default premium under the

        Prepetition Term Loan Documents. Upon the commencement of a Challenge, the Debtors are

        further authorized and directed to pay to the Prepetition Term Loan Agent, for the benefit of the

        Prepetition Term Loan Lenders, of $250,000 into a non-interest bearing account maintained at a

        financial institution reasonably acceptable to the Prepetition Term Loan Agent, the Required

        Lenders (as defined in the Prepetition Term Loan Agreement) and the Debtors (the “Prepetition

        Term Loan Indemnity Reserve,” and, together with the Prepetition ABL Indemnity Reserve, the

        “Prepetition Indemnity Reserves”) to secure contingent indemnification, reimbursement or

        similar continuing obligations arising under or related to the Prepetition Term Loan Documents

        (the “Prepetition Term Indemnity Obligations”). The Prepetition Term Loan Indemnity Reserve

        shall (A) secure all costs, expenses, and other amounts (including reasonable and documented

        attorneys’ fees) incurred by the Prepetition Term Loan Agent and the Prepetition Term Loan


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        Lenders in connection with or responding to (1) formal or informal inquiries and/or discovery

        requests, any adversary proceeding, cause of action, objection, claim, defense, or other challenge

        as contemplated in paragraph 43 hereof, or (2) any Challenge against the Prepetition Term Loan

        Agent or Prepetition Term Loan Lenders related to the Prepetition Term Loan Documents, the

        Prepetition Term Loan Obligations, or the Prepetition Term Loan Liens granted to the

        Prepetition Term Loan Agent, as applicable, whether in these Cases or independently in another

        forum, court, or venue; (B) the Prepetition Term Indemnity Obligations shall be secured by a

        first lien on the Prepetition Term Loan Indemnity Reserve and the funds therein and by a lien on

        the Prepetition Collateral (subject in all respects to the Intercreditor Agreement); (C) subject to

        paragraph 36 below, the Prepetition Term Loan Agent and Prepetition Term Loan Lenders may

        apply amounts in the Prepetition Term Loan Indemnity Reserve against the Prepetition Term

        Indemnity Obligations as and when they arise, without further notice to or consent from the

        Debtors, the Committee, or any other parties in interest and without further order of this Court;

        and (D) until the Challenge Deadline (as defined below), the Prepetition Term Loan Agent (for

        itself and on behalf of the Prepetition Term Loan Lenders) shall retain and maintain the

        Prepetition Term Loan Liens granted to the Prepetition Term Loan Agent as security for the

        amount of any Prepetition Term Indemnity Obligations not capable of being satisfied from

        application of the funds on deposit in the Prepetition Term Loan Indemnity Reserve; provided,

        that (i) any such indemnification claims shall (a) be subject to the terms of the Prepetition Term

        Loan Documents and (b) the rights of parties in interest with requisite standing to object to any

        such indemnification claim(s) are hereby reserved in accordance with paragraph 43 hereof, and

        (ii) the Court shall reserve jurisdiction to hear and determine any such disputed indemnification

        claim(s). The Prepetition Term Loan Indemnity Reserve shall be subject to the DIP Liens and


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        the Adequate Protection Liens, subject to the priority set forth herein. The Prepetition Term

        Loan Indemnity Reserve shall be released and the funds applied in accordance with paragraph 24

        of this Final Order upon the indefeasible payment in full in cash of the Prepetition Term Loan

        Obligations or the withdrawal or dismissal of the applicable Challenge.          Notwithstanding

        anything in this Final Order or the DIP Documents to the contrary, the funding of the Prepetition

        Indemnity Reserves shall be excluded for the purposes of determining compliance with the

        Budget or associated variance requirements.

                           18.   Adequate Protection Reservation. Nothing herein shall impair or modify

        the application of section 507(b) of the Bankruptcy Code in the event that the adequate

        protection provided to the Prepetition Secured Parties hereunder is insufficient to compensate for

        any Diminution in Value of their respective interests in the Prepetition Collateral during the

        Cases or any Successor Cases. The receipt by the Prepetition Secured Parties of the adequate

        protection provided herein shall not be deemed an admission that the interests of the Prepetition

        Secured Parties are adequately protected. Further, this Final Order shall not prejudice or limit

        the rights of the Prepetition Secured Parties to seek additional relief with respect to the use of

        Cash Collateral or additional adequate protection.

                                      Provisions Common to DIP Financing
                                           and use of Cash Collateral

                           19.   Amendment of the DIP Documents. The DIP Documents may from time

        to time be amended, modified, or supplemented by the parties thereto without further order of the

        Court if the amendment, modification, or supplement is (a) non-material and (b) in accordance

        with the DIP Documents. In the case of a material amendment, modification, or supplement to

        the DIP Documents, the Debtors shall provide notice (which shall be provided through electronic

        mail) to counsel to a Committee (if appointed), the U.S. Trustee and the DIP Agent not party to
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        such amendment, modification, or supplement (collectively, the “Notice Parties”) at least three

        (3) business days prior to the effective date thereof. Any material modification, amendment or

        supplement that becomes effective in accordance with this paragraph shall be filed with the

        Court.

                           20.   Budget Maintenance. The use of borrowings and letters of credit under

        the DIP Facilities shall be limited in accordance with the Budget, as described in paragraph 21

        below, depicting on a weekly basis cash revenue, receipts, expenses, disbursements and

        inventory receipts and levels on a line item basis for the first 13 weeks from the Closing Date,

        with a break-out for stores being closed (if any) or proposed to be closed (if any), which shall be

        in form and substance satisfactory to, and approved by, (a) the DIP ABL Agent and (b) the

        Required Lenders or the DIP Term Loan Agent (with the consent of the Required Lenders) and

        the Crossover Holder (as defined in the DIP Term Loan Agreement), if any, each in their sole

        discretion prior to the Closing Date. The Budget shall be updated by the Debtors (with the

        consent and/or at the reasonable request of (a) the DIP ABL Agent or (b) the Required Lenders

        (as defined in the DIP Term Loan Agreement) or the DIP Term Loan Agent (with the consent of

        the Required Lenders) and the Crossover Holder, if any) from time to time (provided that such

        updated Budget shall be in form and substance satisfactory to, and approved by, (a) the DIP ABL

        Agent and (b) the Required Lenders (as defined in the DIP Term Loan Agreement) or the DIP

        Term Loan Agent (with the consent of the Required Lenders) and the Crossover Holder, if any,

        each in their sole discretion), but in any event not less than once every four (4) weeks and actuals

        and variances shall be updated on a weekly basis (with delivery to the DIP Agents before 5:00

        p.m., Eastern time, on Wednesday of each week) and the Debtors shall be required to comply

        with the Budget as provided in paragraph 21 below.


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                           21.   Budget Compliance.   Commencing with the third full calendar week

        following the Petition Date and for each calendar week thereafter, the Debtors shall not permit

        (a) Actual Inventory Levels (as defined in the DIP Documents) as at the end of any week to be

        less than 90% of the Budgeted Inventory Levels (as defined in the DIP Documents) set forth in

        the Budget as at the end of such week, (b) the Actual Cash Receipts (as defined in the DIP

        Documents) (without giving effect to borrowings and repayments under DIP Agreements),

        measured on a cumulative basis, for any Cumulative Four Week Period (as defined in the DIP

        Documents) or the Cumulative Period (as defined in the DIP Documents), in each case, to be less

        than 90% of the Budgeted Cash Receipts (as defined in the DIP Documents) (without giving

        effect to borrowings and repayments under the DIP Agreements), measured on a cumulative

        basis, for any Cumulative Four Week Period or the Cumulative Period, or (c) the Actual

        Disbursement Amount (as defined in the DIP Documents), measured on a cumulative basis, for

        any Cumulative Four Week Period or the Cumulative Period, in each case, to exceed 110% of

        the Budgeted Disbursement Amount (as defined in the DIP Documents), measured on a

        cumulative basis, for any such Cumulative Four Week Period or the Cumulative Period. The

        Debtors shall, commencing with the conclusion of the first full calendar week after the Petition

        Date, deliver to the DIP Agents by 5:00 p.m., Eastern time, on Wednesday of each week, a

        reconciliation for the prior week, the prior four-week cumulative period, as applicable, and the

        cumulative period from the Closing Date of actual expenses and disbursements, sales receipts

        and inventory to the amounts for such periods set forth in (a) the Initial Budget and (b) any

        subsequent Budget consented to by (i) the DIP ABL Agent and (ii) the Required Lenders (as

        defined in the DIP Term Loan Agreement) or the DIP Term Loan Agent (with the consent of the

        Required Lenders) and the Crossover Holder, if any, in accordance with Paragraph 20 of this


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        Final Order (“Budget Variance Report”). The Budget Variance Report shall include a written

        discussion of variances by line item including, but not limited to, identification of permanent vs.

        temporary or timing related variances. Budget compliance shall be tested weekly on a rolling

        four-week basis (commencing with the fourth full calendar week after the Petition Date, or if a

        four-week period has not then elapsed from the Petition Date, such shorter period since the

        Petition Date through the Saturday of the most recent week then ended); provided, however, if (i)

        the DIP ABL Agent and (ii) the Required Lenders (as defined in the DIP Term Loan Agreement)

        or the DIP Term Loan Agent (with the consent of the Required Lenders) and the Crossover

        Holder, if any, do not agree to a revised Budget in accordance with Paragraph 20 of this Final

        Order, Budget compliance shall not be tested on a rolling four-week basis, but instead shall be

        tested on a cumulative basis against the Initial Budget (or last Budget to which the DIP Agents

        (with respect to the DIP Term Loan Agent, with the consent of the Required Lenders) consented

        in accordance with Paragraph 20 of this Final Order). Without limiting any of the Debtors’ other

        reporting obligations under this Final Order or the DIP Documents:              (a) the Debtors’

        management shall participate in a weekly call with the financial advisors to the DIP ABL Agent

        and the DIP Term Loan Lenders to discuss the budget, variances and other business

        developments; and (b) the Debtors shall provide the financial advisors to the DIP ABL Agent

        and the DIP Term Loan Lenders with weekly borrowing base calculations and monthly

        unaudited financial statements.

                           22.   Modification of Automatic Stay.    The automatic stay imposed under

        section 362(a)(2) of the Bankruptcy Code is hereby modified as necessary to effectuate all of the

        terms and provisions of this Final Order, including, without limitation, to: (a) permit the Debtors

        to grant the DIP Liens, Adequate Protection Liens, DIP Superpriority Claims, and Adequate


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        Protection Superpriority Claims; (b) permit the Debtors to perform such acts as the DIP Agents,

        DIP Lenders, or the Prepetition Agents each may reasonably request which is necessary to assure

        the perfection and priority of the liens granted herein; (c) permit the Debtors to incur all

        liabilities and obligations to the DIP Agents, DIP Lenders, and Prepetition Secured Parties under

        the DIP Documents, the DIP Facilities and this Final Order; and (d) authorize the Debtors to pay,

        and the DIP Agents, the DIP Lenders and the Prepetition Secured Parties to retain and apply,

        payments made in accordance with the terms of this Final Order.

                           23.   Perfection of DIP Liens and Adequate Protection Liens. The Interim

        Order and this Final Order shall be sufficient and conclusive evidence of the creation, validity,

        perfection, and priority of all liens granted herein, including the DIP Liens and the Adequate

        Protection Liens, without the necessity of filing or recording any financing statement, mortgage,

        notice, or other instrument or document which may otherwise be required under the law or

        regulation of any jurisdiction or the taking of any other action (including, for the avoidance of

        doubt, entering into any deposit account control agreement) to validate or perfect (in accordance

        with applicable non-bankruptcy law) the DIP Liens, the Adequate Protection Liens, or to entitle

        the DIP Agents, the DIP Lenders, and the Prepetition Secured Parties to the priorities granted

        herein. Notwithstanding the foregoing, each of the DIP Agents (with respect to the DIP Term

        Loan Agent, as may be directed by the Required Lenders) and Prepetition Agents is authorized to

        file, as it in its sole discretion deems necessary or advisable, such financing statements, security

        agreements, mortgages, notices of liens and other similar documents to perfect in accordance

        with applicable non-bankruptcy law or to otherwise evidence the DIP Liens and the Adequate

        Protection Liens, and all such financing statements, mortgages, notices and other documents

        shall be deemed to have been filed or recorded as of the Petition Date; provided, however, that


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        no such filing or recordation shall be necessary or required in order to create or perfect the DIP

        Liens or the Adequate Protection Liens. The Debtors are authorized and directed to execute and

        deliver promptly upon demand to the DIP Agents and the Prepetition Agents all such financing

        statements, mortgages, notices and other documents as the DIP Agents or the Prepetition Agents

        may reasonably request. Each of the DIP Agents and the Prepetition Agents, in its discretion,

        may file a photocopy of this Final Order as a financing statement with any filing or recording

        office or with any registry of deeds or similar office, in addition to or in lieu of such financing

        statements, notices of lien or similar instrument. To the extent that the Prepetition ABL Agent or

        the Prepetition Term Loan Agent is the secured party under any security agreement, mortgage,

        leasehold mortgage, landlord waiver, credit card processor notices or agreements, bailee letters,

        custom broker agreements, financing statement, account control agreements, or any other

        Prepetition Documents or is listed as loss payee, lender loss payee, mortgagee or additional

        insured under any of the Debtors’ insurance policies, each DIP Agent (as applicable) shall also

        be deemed to be the secured party under such documents or to be the loss payee, lender loss

        payee, mortgagee or additional insured, as applicable, including with respect to and as security

        for the obligations and liabilities owing under the DIP Term Loan Documents and/or the DIP

        ABL Obligations, as applicable. Within five (5) business days of the date of a request by a DIP

        Agent, the Prepetition Agents shall deliver to the applicable DIP Agent (in accordance with the

        Intercreditor Agreement) any DIP Collateral that, without giving effect to the Bankruptcy Code

        and this Final Order, is of a type such that perfection of a lien therein may be accomplished only

        by possession or control by a secured party (“Possessory Collateral”), and in connection

        therewith, the Prepetition Agents are hereby authorized to deliver such Possessory Collateral in

        accordance with this Final Order, and the DIP Agents are authorized and directed to receive such


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        Possessory Collateral. Until such Possessory Collateral is delivered by the Prepetition Agents to

        the DIP Agents in accordance with the immediately preceding sentence, the Prepetition Agents

        shall serve as agents for the DIP Agents for purposes of perfecting the DIP Agents’ liens on such

        Possessory Collateral, and following delivery of the Possessory Collateral pursuant to this Final

        Order, the DIP Agents shall serve as agents for the Prepetition Agents for purposes of perfecting

        the Prepetition Agents’ liens, including, without limitation, the Prepetition Term Adequate

        Protection Liens, on such Possessory Collateral.

                           24.   Application of Proceeds of Collateral. As a condition to the entry of the

        DIP Documents, the extension of credit under the DIP Facilities and the authorization to use

        Cash Collateral, the Debtors, the DIP ABL Agent, the DIP Term Loan Agent, the DIP ABL

        Lenders, and the DIP Term Loan Lenders have agreed that as of and commencing on the date of

        the Interim Hearing, net proceeds of DIP Collateral, including, without limitation, whether sold

        in the ordinary course, liquidated, or otherwise, shall be applied as follows: (a) with respect to

        DIP ABL Priority Collateral (i) first, to costs and expenses, including fees and expenses of

        counsel, of the DIP ABL Agent; (ii) second, to permanently reduce the Prepetition ABL

        Obligations; (iii) third, to reduce the DIP ABL Obligations, and (iv) after indefeasible repayment

        in full in cash of the Prepetition ABL Obligations and the DIP ABL Obligations (including, in

        each case, provision for contingent obligations) and the termination of the DIP ABL Credit

        Facility (w) fourth, to costs and expenses, including fees and expenses of counsel, of the DIP

        Term Loan Agent, the DIP Term Lenders and the Prepetition Term Loan Parties (including,

        without limitation, the fees and expenses of the Term Loan Advisors as advisors to the foregoing

        parties), (x) fifth, to permanently reduce the DIP Term Loan Obligations, (y) sixth, to

        permanently reduce the Prepetition Term Loan Superpriority Claim and (z) seventh, to reduce the


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        Prepetition Term Loan Obligations; and (b) with respect to DIP Term Priority Collateral, (i) first,

        to costs and expenses, including fees and expenses of counsel, of the DIP Term Loan Agent, the

        DIP Term Lenders and the Prepetition Term Loan Parties (including, without limitation, the fees

        and expenses of the Term Loan Advisors as advisors to the foregoing parties); (ii) second, to

        reduce the DIP Term Loan Obligations; and (iii) third, to reduce the Prepetition Term Loan

        Superpriority Claim; (iv) fourth, to reduce the Prepetition Term Loan Obligations, and (v) after

        indefeasible repayment in full in cash of the Prepetition Term Loan Obligations and the DIP

        Term Loan Obligations (including, in each case, provision for contingent obligations), (x) fifth,

        to costs and expenses, including fees and expenses of counsel, of the DIP ABL Agent, (y) sixth,

        to permanently reduce the Prepetition ABL Obligations, and (z) seventh, to reduce the DIP ABL

        Obligations. The reduction of the Prepetition Secured Obligations is subject to the preservation

        of rights provided in paragraph 43 herein.

                           25.   Protections of Rights of DIP Agents, DIP Lenders and Prepetition Secured

        Parties.

                                 (a)    Unless the DIP Agents (with respect to the DIP Term Loan Agent,

        with the consent of the Required Lenders) and the Prepetition Agents (with respect to the

        Prepetition Term Loan Agent, with the consent of the Required Lenders (as defined in the

        Prepetition Term Loan Agreement)) shall have provided their prior written consent, or all DIP

        Obligations and all Prepetition Secured Obligations have been indefeasibly paid in full in cash,

        in any of these Cases or any Successor Cases the Debtors shall neither seek entry of, nor support

        any motion or application seeking entry of, and otherwise shall object to any motion or

        application seeking entry of, an order (including any order confirming any plan of reorganization

        or liquidation) that authorizes any of the following: (i) the obtaining of credit or the incurring of


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        indebtedness that is secured by a security, mortgage, or collateral interest or other Lien on all or

        any portion of the DIP Collateral or Prepetition Collateral and/or that is entitled to administrative

        priority status, in each case that is superior to or pari passu with the DIP Liens, the DIP

        Superpriority Claims, the Prepetition Liens, the Prepetition Adequate Protection Liens, and/or

        the Adequate Protection Superpriority Claims except as expressly set forth in this Final Order;

        (ii) the use of Cash Collateral for any purpose other than as permitted in the DIP Documents and

        this Final Order; (iii) the return of goods pursuant to section 546(h) of the Bankruptcy Code (or

        other return of goods on account of any prepetition indebtedness) to any creditor of any Debtor

        or any creditor’s taking any setoff against any of its prepetition indebtedness based upon any

        such return of goods pursuant to section 553 of the Bankruptcy Code; or (iv) any modification of

        any of the DIP Agents’, DIP Lenders’, or the Prepetition Secured Parties’ rights under this Final

        Order, the DIP Documents or the Prepetition Documents with respect any DIP Obligations or

        Prepetition Secured Obligations. It shall be an Event of Default under the DIP Documents and

        this Final Order if, in any of these Cases or any Successor Cases, any order is entered granting

        any of the relief enumerated in provisions (i) through (iv) of the previous sentence.

                               (b)     No Debtor shall object to any DIP Lenders or any Prepetition

        Secured Parties credit bidding up to the full amount of the applicable outstanding DIP

        Obligations, Prepetition ABL Obligations (as applicable), and Prepetition Term Loan

        Obligations (as applicable), in each case including any accrued interest and expenses, in any sale

        of any DIP Collateral or Prepetition Collateral, as applicable, whether such sale is effectuated

        through Section 363 or Section 1129 of the Bankruptcy Code, by a Chapter 7 trustee under

        Section 725 of the Bankruptcy Code, or otherwise.




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                           26.   Credit Bidding. In connection with any sale process authorized by the

        Court, (i) the DIP Agents (with respect to the DIP Term Loan Agent, with the consent of the

        Required Lenders) and DIP Lenders and (ii) subject to the rights preserved in paragraph 43,

        Prepetition ABL Agent, Prepetition Term Loan Agent and Prepetition Secured Parties, or any

        assignee or designee of any of the foregoing, shall be authorized to credit bid, consistent with the

        applicable DIP Documents and/or Prepetition Documents, some or all of their claims for their

        respective priority collateral (each a “Credit Bid”) pursuant to section 363(k) of the Bankruptcy

        Code, subject in each case to the rights and duties of the parties under the Intercreditor

        Agreement and to the provision of consideration sufficient to indefeasibly pay in full in cash any

        senior liens on the collateral that is subject to the credit bid except to the extent otherwise agreed

        by the holder of such senior lien in their sole and absolute discretion. Each of the Prepetition

        Agents, the Prepetition Secured Parties and the DIP Agents shall be considered a “Qualified

        Bidder” with respect to their rights to acquire all or any of the assets by Credit Bid.

                           27.   Proceeds of Subsequent Financing.       If the Debtors, any trustee, any

        examiner with expanded powers, or any responsible officer subsequently appointed in these

        Cases or any Successor Cases, shall obtain credit or incur debt pursuant to Bankruptcy Code

        sections 364(b), 364(c) or 364(d) or in violation of the DIP Documents at any time prior to the

        indefeasible repayment in full of all DIP Obligations and Prepetition Secured Obligations, and

        the termination of the DIP Agents’ and DIP Lenders’ obligation to extend credit under the DIP

        Facilities, including subsequent to the confirmation of any plan with respect to any or all of the

        Debtors and the Debtors’ estates, and such facilities are secured by any DIP Collateral, then all

        the cash proceeds derived from such credit or debt shall immediately be turned over to the DIP

        Agents to be applied in accordance with this Final Order and the DIP Documents.


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                           28.   Cash Collection.

                                 (a)    From and after the date of the entry of the Interim Order, all

        collections and proceeds of any DIP ABL Priority Collateral or Prepetition ABL Priority

        Collateral or services provided by any Debtor and all Cash Collateral that shall at any time come

        into the possession, custody, or control of any Debtor, or to which any Debtor is now or shall

        become entitled at any time, shall be promptly deposited in the same lock-box and/or deposit

        accounts into which the collections and proceeds of the Prepetition ABL Priority Collateral were

        deposited under the Prepetition Documents (or in such other accounts as are designated by the

        DIP ABL Agent from time to time) (collectively, the “Cash Collection Accounts”), which

        accounts shall be subject to the sole dominion and control of the DIP ABL Agent. All proceeds

        and other amounts in the Cash Collection Accounts shall be remitted to the DIP ABL Agent for

        application in accordance with the DIP ABL Documents and this Final Order. Unless otherwise

        agreed to in writing by the DIP Agents (with respect to the DIP Term Loan Agent, with the

        consent of the Required Lenders) and Prepetition Agents, the Debtors shall maintain no accounts

        except those identified in any cash management order entered by the Court (a “Cash

        Management Order”). The Debtors and the financial institutions where the Debtors’ Cash

        Collection Accounts are maintained (including those accounts identified in any Cash

        Management Order) are authorized and directed to remit, without offset or deduction, funds in

        such Cash Collection Accounts upon receipt of any direction to that effect from the DIP ABL

        Agent consistent with the DIP ABL Agreement subject to paragraph 34 herein.

                                 (b)    Notwithstanding anything in this Final Order or any of the DIP

        Documents to the contrary, (i) (A) upon any draw under the DIP Term Loan Facility, the Debtors

        shall first apply the proceeds of the DIP Term Loan Facility to any outstanding Prepetition ABL


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        Obligations and/or DIP ABL Obligations (other than letters of credit and/or any reimbursement

        obligations in respect thereof) as provided in the DIP Documents and thereafter deposit any

        remaining proceeds into a newly-formed, segregated, non-commingled deposit account furnished

        by a depositary bank acceptable to the DIP Term Loan Agent (initially, Account No.

        xxxxxx3810 maintained at the Bank of America, N.A.) which is required to be subject to the

        control of the DIP Term Loan Agent (such account, the “DIP Term Account”), subject to the

        priorities in the immediately succeeding clause (B); and (B) the DIP Term Loan Agent shall have

        a first priority security interest in and lien on the DIP Term Account and the DIP ABL Agent

        shall have a security interest in and lien on the DIP Term Account junior only to the first priority

        security interest in and lien on (and no other person shall have any security interest in or lien on)

        the DIP Term Account of the DIP Term Loan Agent; and (ii) the Debtor’ use of the proceeds in

        the DIP Term Account shall be subject to (and limited to the extent set forth in) this Final Order

        and the DIP Term Loan Documents; provided that, for the avoidance of doubt, except for

        amounts necessary to pay outstanding Prepetition ABL Obligations and/or DIP ABL Obligations

        as of the Closing Date under the DIP Documents (other than letters of credit and/or

        reimbursement obligations in respect thereof)), the Debtors shall not apply, nor shall the DIP

        ABL Agent accept or take (including by way of any sweep of any account containing), any of the

        DIP Term Loans or the proceeds thereof to make any payment in reduction of the revolving

        credit loans under the obligations owing under the DIP ABL Agreement and/or the Prepetition

        ABL Agreement or nor shall the Debtors otherwise deposit any proceeds of the DIP Term Loans

        in any deposit account subject to a sweep by the DIP ABL Agent or any DIP ABL Lender.

                           29.   Maintenance of DIP Collateral. Until the indefeasible payment in full of

        all DIP Obligations, all Prepetition Secured Obligations, and the termination of the DIP Agents’


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        and the DIP Lenders’ obligation to extend credit under the DIP Facilities, the Debtors shall: (a)

        insure the DIP Collateral as required under the DIP Facilities or the Prepetition Documents, as

        applicable; and (b) maintain the cash management system which has been agreed to by the DIP

        Agents (with respect to the DIP Term Loan Agent, with the consent of the Required Lenders) or

        as otherwise required by the DIP Documents and the Prepetition Documents.

                           30.   Disposition of DIP Collateral. The Debtors shall not sell, transfer, lease,

        encumber or otherwise dispose of any portion of the DIP ABL Priority Collateral or Prepetition

        ABL Priority Collateral other than in the ordinary course of business without the prior written

        consent of the DIP ABL Agent and Prepetition ABL Agent (and no such consent shall be

        implied, from any other action, inaction or acquiescence by the DIP ABL Agent, DIP ABL

        Lenders, or Prepetition ABL Parties, or from any order of this Court), except as otherwise

        permitted by the DIP ABL Documents or otherwise ordered by the Court, and subject to the

        Intercreditor Agreement. The Debtors shall not sell, transfer, lease, encumber or otherwise

        dispose of any portion of the DIP Term Priority Collateral or Prepetition Term Priority Collateral

        other than in the ordinary course of business without the prior written consent of the DIP Term

        Loan Agent (with the consent of the Required Lenders) and Prepetition Term Loan Agent (and

        no such consent shall be implied, from any other action, inaction or acquiescence by the DIP

        Term Loan Agent, DIP Term Loan Lenders, or Prepetition Term Loan Parties, or from any order

        of this Court), except as otherwise permitted by the DIP Term Loan Documents or otherwise

        ordered by the Court, and subject to the Intercreditor Agreement.

                           31.   DIP Termination Date.     On the applicable DIP Termination Date (as

        defined herein), (a) all applicable DIP Obligations shall be immediately due and payable, all

        commitments to extend credit under the applicable DIP Facilities will terminate, other than as


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        required in paragraph 40 with respect to the Carve Out, all treasury and cash management,

        hedging obligations and bank product obligations shall be cash collateralized, and all letters of

        credit and bankers’ acceptances outstanding shall be cash collateralized in an amount equal to

        105% of the face amount thereof, and such cash collateral shall not be subject to or subordinate

        to the Carve Out; (b) all authority to use Cash Collateral shall cease, provided, however, that

        during the Remedies Notice Period (as defined herein), the Debtors may use Cash Collateral to

        pay payroll and other expenses critical to the administration of the Debtors’ estates strictly in

        accordance with the Budget as determined by each DIP Agent (with respect to the DIP Term

        Loan Agent, with the consent of the Required Lenders) in its sole discretion; and (c) otherwise

        exercise rights and remedies under the DIP Documents in accordance with this Final Order

        (including, without limitation, paragraph 34). For the purposes of this Final Order, the “DIP

        Termination Date” shall mean the “Revolving Credit Termination Date” as defined in the DIP

        ABL Agreement and the “Term Loan Termination Date” as defined in the DIP Term Loan

        Agreement, as applicable.

                           32.   Events of Default. The occurrence of any of the following events, unless

        waived by the DIP Agents (with respect to the DIP Term Loan Agent, with the consent of the

        Required Lenders) in writing and in accordance with the terms of the DIP Agreements, shall

        constitute an event of default (collectively, the “Events of Default”): (a) the failure of the

        Debtors to perform, in any respect, any of the terms, provisions, conditions, covenants, or

        obligations under this Final Order, or (b) the occurrence of an “Event of Default” under either of

        the DIP Agreements.




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                           33.   Milestones. The failure of the Debtors to comply with any of the Case

        milestones set forth on Exhibit 1 attached hereto (the “Milestones”) shall constitute an Event of

        Default under (a) each of the DIP Agreements and (b) this Final Order.

                           34.   Rights and Remedies Upon Event of Default.         Immediately upon the

        occurrence and during the continuation of an Event of Default under any of the DIP Documents,

        notwithstanding the provisions of section 362 of the Bankruptcy Code, without any application,

        motion or notice to, hearing before, or order from the Court, but subject to the terms of this Final

        Order (a) each DIP Agent (with respect to the DIP Term Loan Agent, with the consent of the

        Required Lenders) may declare (any such declaration shall be referred to herein as a

        “Termination Declaration”) (i) all DIP Obligations owing under the respective DIP Documents

        to be immediately due and payable (including the cash collateralization of all outstanding letters

        of credit in accordance with the DIP Documents), (ii) the termination, reduction or restriction of

        any further commitment to extend credit to the Debtors to the extent any such commitment

        remains under the respective DIP Facilities, (iii) termination of the respective DIP Facilities and

        the respective DIP Documents as to any future liability or obligation of the applicable DIP

        Agents and the DIP Lenders, but without affecting any of the DIP Liens or the DIP Obligations,

        and (iv) that the application of the Carve Out has occurred through the delivery of the Carve Out

        Trigger Notice to the Borrower; and (b) either the DIP ABL Agent (in the case of Cash

        Collateral of proceeds of the DIP ABL Priority Collateral) or the DIP Term Loan Agent (in the

        case of Cash Collateral of proceeds of the DIP Term Priority Collateral and proceeds in the DIP

        Term Account, and with the consent of the Required Lenders) may declare a termination,

        reduction or restriction on the ability of the Debtors to use Cash Collateral (the date which is the

        earliest to occur of any such date a Termination Declaration is delivered and the DIP


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        Termination Date shall be referred to herein as the “Termination Date”). The Termination

        Declaration shall be given by electronic mail (or other electronic means) to counsel to the

        Debtors, counsel to the DIP ABL Agent (if delivered by the DIP Term Loan Agent), counsel to

        the DIP Term Loan Agent (if delivered by the DIP ABL Agent), counsel to the Crossover

        Holder, counsel to a Committee (if appointed), counsel to the Indenture Trustee, any affected

        landlord and the U.S. Trustee. The automatic stay in the Cases otherwise applicable to the DIP

        Agents, the DIP Lenders and the Prepetition Secured Parties is hereby modified so that five (5)

        business days after the date a Termination Declaration is delivered (the “Remedies Notice

        Period”): (a) the applicable DIP Agent and the DIP Lenders shall be entitled to exercise their

        rights and remedies in accordance with the respective DIP Documents and this Final Order to

        satisfy the relevant DIP Obligations, DIP Superpriority Claim and DIP Liens, subject to the

        Carve Out; (b) the applicable Prepetition Secured Parties shall be entitled to exercise their rights

        and remedies in accordance with the applicable Prepetition Documents and this Final Order to

        satisfy the relevant Prepetition Secured Obligations, Adequate Prepetition Superpriority Claims

        and Prepetition Adequate Protection Liens, subject to the Carve Out. During the Remedies

        Notice Period, the Debtors, a Committee (if appointed) and/or any party in interest shall be

        entitled to seek an emergency hearing within the Remedies Notice Period with the Court. Unless

        the Court orders otherwise, the automatic stay, as to all of the DIP Agents, DIP Lenders, and

        Prepetition Secured Parties, shall automatically be terminated at the end of the Remedies Notice

        Period without further notice or order. Upon expiration of the Remedies Notice Period, the DIP

        Agents, DIP Lenders, and the Prepetition Secured Parties shall be permitted to exercise all

        remedies set forth herein, in the DIP Documents, the Prepetition Documents, and as otherwise




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        available at law without further order of or application or motion to the Court consistent with the

        Intercreditor Agreement.

                           35.   Good Faith Under Section 364(e) of the Bankruptcy Code; No

        Modification or Stay of this Final Order. The DIP Agents, the DIP Lenders, and the Prepetition

        Secured Parties have acted at arms’ length in good faith in connection with the Interim Order and

        this Final Order and are entitled to rely upon the protections granted herein and by section 364(e)

        of the Bankruptcy Code. Based on the findings set forth in the Interim Order, this Final Order

        and the record made during the Interim and Final Hearings, and in accordance with section

        364(e) of the Bankruptcy Code, any modification, amendment, reversal or vacatur by subsequent

        order of this Court or any other court shall not affect the validity and enforceability of any

        advances previously made or made hereunder, or lien, claim, or priority authorized or created

        hereby.

                           36.   DIP and Other Expenses; Procedures for Payment of DIP Agents’, DIP

        Lenders’ and Prepetition Secured Parties’ Professional Fees and Expenses. The Debtors are

        authorized and directed to pay all reasonable and documented prepetition and postpetition fees

        and expenses of the DIP Agents and DIP Lenders in connection with the DIP Facilities, as

        provided in the DIP Documents, or incurred in connection with any proposed exit or acquisition

        financing, chapter 11 plan or transactions contemplated thereunder or sale transaction (including

        the preparation and negotiation of the documentation relating to any such exit or acquisition

        financing, plan or sale transaction), whether or not the transactions contemplated hereby are

        consummated, including reasonable and documented attorneys’ fees, monitoring and appraisal

        fees, financial advisory fees, fees and expenses of other consultants, and indemnification and

        reimbursement of reasonable and documented fees and expenses, including the fees and


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        expenses of the ABL Advisors and the Term Loan Advisors. Payment of all professional fees

        and expenses of the DIP Agents, the DIP Lenders and the Prepetition Secured Parties addressed

        in this Final Order (including the ABL Advisors and the Term Loan Advisors) shall not be

        subject to allowance by the Court. Professionals for the DIP Agents, DIP Lenders and the

        Prepetition Secured Parties (including the ABL Advisors and the Term Loan Advisors) shall not

        be required to comply with the U.S. Trustee fee guidelines, however any time that such

        professionals seek payment of fees and expenses from the Debtors, each professional shall

        provide copies of its invoices (which shall not be required to contain time entries, but shall

        include a general, brief description of the nature of the matters for which services were

        performed, and which may be redacted or modified to the extent necessary to delete any

        information subject to the attorney-client privilege, any information constituting attorney work

        product, or any other confidential information, and the provision of such invoices shall not

        constitute any waiver of the attorney client privilege or of any benefits of the attorney work

        product doctrine) to the U.S. Trustee and counsel for a Committee (if appointed)

        contemporaneously with the delivery of such fee and expense statements to the Debtors. Any

        objections raised by the Debtors, the U.S. Trustee or a Committee (if appointed) with respect to

        the Debtors’ payment of the amounts in such invoices must be filed with the Bankruptcy Court

        and served within ten (10) days of such party’s receipt of such invoice, and any such objection

        shall be subject to resolution by the Court. Pending such resolution, the undisputed portion of

        any such invoice will be paid promptly by the Debtors. Notwithstanding the foregoing, the

        Debtors are authorized and directed to pay on the Closing Date (as defined in the DIP

        Documents) all reasonable, undisputed and documented fees, costs and expenses, including fees

        and expenses of counsel, of the DIP Agents, the DIP Lenders and the Prepetition Secured Parties


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        incurred on or prior to such date without the need for any professional engaged by the DIP

        Agents, the DIP Lenders or the Prepetition Secured Parties to first deliver a copy of its invoice as

        provided for herein. No attorney or advisor to the DIP Agents, DIP Lenders or the Prepetition

        Secured Parties shall be required to file an application seeking compensation for services or

        reimbursement of expenses with the Court. Any and all fees, costs, and expenses paid prior to

        the Petition Date by any of the Debtors to the DIP Agents or DIP Lenders in connection with or

        with respect to the DIP Facilities, are hereby approved in full.

                           37.   Indemnification. The Debtors shall indemnify and hold harmless the DIP

        Agents and the DIP Lenders in accordance with the terms and conditions of the DIP Agreements.

        Upon the earlier of (A) payment in full in cash of the DIP ABL Obligations or (B) conclusion of

        the Remedies Notice Period, the Debtors shall pay $250,000 from proceeds of the DIP Collateral

        into an indemnity account (the “DIP ABL Indemnity Account”) subject to first priority liens of

        the DIP ABL Agent, for the benefit of the DIP ABL Lenders. The DIP ABL Indemnity Account

        shall be released and the funds applied in accordance with paragraph 24 of this Final Order upon

        the indefeasible payment in full in cash of the DIP ABL Obligations and the receipt by the DIP

        ABL Agent and each of the DIP ABL Lenders of releases from the Debtors and their estates,

        with respect to any claims arising out of or related to the DIP ABL Documents, acceptable to the

        DIP ABL Agent and the DIP ABL Lenders, each in their sole discretion. Upon the earlier of (A)

        payment in full in cash of the DIP Term Loan Obligations or (B) conclusion of the Remedies

        Notice Period, the Debtors shall pay $250,000 from proceeds of the DIP Collateral into an

        indemnity account (the “DIP Term Loan Indemnity Account”) subject to first priority liens of the

        DIP Term Loan Agent, for the benefit of the DIP Term Loan Lenders. The DIP Term Loan

        Indemnity Account shall be released and the funds applied in accordance with paragraph 24 of


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        this Final Order upon the indefeasible payment in full in cash of the DIP Term Loan Obligations

        and the receipt by the DIP Term Loan Agent and each of the DIP Term Loan Lenders of releases

        from the Debtors and their estates, with respect to any claims arising out of or related to the DIP

        Term Loan Documents, acceptable to the DIP Term Loan Agent (with the consent of the

        Required Lenders) and the DIP Term Loan Lenders, each in their sole discretion.

                           38.   Proofs of Claim. Notwithstanding any order entered by this Court in

        relation to the establishment of a bar date in any of the Cases or any Successor Cases to the

        contrary, the DIP Agents, the DIP Lenders, and Prepetition Secured Parties will not be required

        to file proofs of claim in any of the Cases or Successor Cases for any claims arising under the

        DIP Documents or the Prepetition Documents.           The Debtors’ stipulations, admissions, and

        acknowledgments and the provisions of the Interim Order and this Final Order shall be deemed

        to constitute a timely filed proof of claim for the DIP Agents, the DIP Lenders and the

        Prepetition Secured Parties with regard to all claims arising under the DIP Documents or the

        Prepetition Documents. Notwithstanding the foregoing, each of (a) the Prepetition ABL Agent

        on behalf of itself and the Prepetition ABL Parties and (b) the Prepetition Term Loan Agent on

        behalf of itself and the Prepetition Term Loan Parties is hereby authorized and entitled, in its sole

        discretion, but not required, to file (and amend and/or supplement, as it sees fit) a proof of claim

        and/or aggregate or master proofs of claim in each of the Cases or Successor Cases for any claim

        described herein (with any such aggregate or master proof of claim filed in the Cases deemed to

        be filed in all Cases of the Debtors and asserted against all of the Debtors). Any proof of claim

        filed by the Prepetition ABL Agent or Prepetition Term Loan Agent shall be deemed to be in

        addition to and not in lieu of any other proof of claim that may be filed by any of the Prepetition

        ABL Parties or Prepetition Term Loan Parties, respectively. Any order entered by the Court in


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        relation to the establishment of a bar date in any of the Cases or Successor Cases shall not apply

        to any claim of the DIP Agents, the DIP Lenders, and the Prepetition Secured Parties. The

        provisions set forth in this paragraph are intended solely for the purpose of administrative

        convenience and shall not affect the substantive rights of any party-in-interest or their respective

        successors-in-interest.

                           39.    Rights of Access and Information. Without limiting the rights of access

        and information afforded the DIP Agents and DIP Lenders under the DIP Documents, the

        Debtors and their agents and advisors shall be, and hereby are, required to afford representatives,

        agents and/or employees of the DIP Agents, DIP Lenders, and the Prepetition Secured Parties

        reasonable access to the Debtors’ premises and their books and records in accordance with the

        DIP Documents and Prepetition Documents, as applicable, including, without limitation, (a)

        upon reasonable advance notice, permit the DIP Agents and Prepetition Agents to conduct, at

        their discretion and at the Debtors’ cost and expense, field audits, collateral examinations,

        liquidation valuations and inventory appraisals at reasonable times in respect of any or all of the

        DIP Collateral and Prepetition Collateral; and (b) reasonably cooperate, consult with, and

        provide to such persons all such information as may be reasonably requested. In addition, the

        Debtors authorize their independent certified public accountants, financial advisors, investment

        bankers and consultants, including Evercore Group L.L.C. and AlixPartners to cooperate, consult

        with, and provide to the DIP Agents and the Crossover Holder, if any, (and so long as an Event

        of Default has occurred and is continuing, each DIP Lender) and the Prepetition Agents all such

        information as may be reasonably requested with respect to the business, results of operations

        and financial condition of any of the Borrower or Guarantors.




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                           40.   Carve Out.

                                 (a)   Subject to the terms and conditions contained in this paragraph 40,

        the DIP Liens, DIP Superpriority Claims, the Prepetition Liens, the Adequate Protection Liens

        and the Adequate Protection Superpriority Claims are all subordinate to the following

        (collectively, the “Carve Out”):

                                       (i)     Allowed administrative expenses pursuant to 28 U.S.C. §

        1930(a)(6) and 28 U.S.C. § 156(c) for fees required to be paid to the Clerk of this Court;

                                       (ii)    All accrued and unpaid fees, disbursements, costs and

        expenses incurred by professionals retained by the Debtors or the Committee (the “Case

        Professionals”) prior to the delivery of the Carve Out Trigger Notice (as defined below) and

        allowed at any time by this Court and earned success or transaction fees of Case Professionals

        reflected in the Budget and allowed at any time by this Court, in each case, solely to the extent

        the same are reflected as estimated professional fees and disbursements in, and maintained as a

        reserve under, the most recent borrowing base report delivered to the DIP Agents by the Debtors

        prior to the delivery of a Carve Out Trigger Notice;

                                       (iii)   All accrued and unpaid fees, disbursements and expenses

        incurred by the Case Professionals from and after the date of service of a Carve Out Trigger

        Notice, to the extent allowed at any time, in an aggregate amount not to exceed $2,000,000 (the

        “Wind-Down Carve Out Amount”) less the amount of any prepetition retainers received by such

        Case Professionals and not applied to the fees, disbursements, costs and expenses set forth in

        clause (ii) above; and

                                       (iv)    All reasonable fees and expenses incurred by a trustee

        under Section 726(b) of the Bankruptcy Code in an amount not to exceed $50,000.


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                              (b)     The Debtors shall reflect in each borrowing base certificate (and

        the DIP ABL Agent shall at all times be entitled to implement and maintain) a reserve against the

        borrowing base in the amount equal to the then estimated Carve Out (which may include an

        estimate for future amounts), and the Budget shall be required to include the Debtors’ projections

        of such estimated Carve Out. So long as no Carve Out Trigger Notice has been issued by the

        DIP Agents (with respect to the DIP Term Loan Agent, with the consent of the Required

        Lenders), the Debtors shall be permitted to pay compensation and reimbursement of expenses

        allowed and payable under Sections 330 and 331 of the Bankruptcy Code or under this Final

        Order but solely to the extent the same are incurred in accordance with (and not in excess of

        those amounts set forth in) the Budget and are reflected as estimates in, and maintained as a

        reserve under, the most recent borrowing base report delivered to the DIP Agents by the Debtors

        prior to the delivery of the Carve Out Trigger Notice, as the same may be due and payable and

        otherwise allowed and payable by order of the Court, and the same shall not reduce the Wind-

        Down Carve Out Amount. The Carve Out shall not be deemed increased if actual fees are higher

        in fact than the estimates provided on a borrowing base report. For purposes of the foregoing,

        “Carve Out Trigger Notice” shall mean a written notice delivered (i) by the DIP ABL Agent to

        the Debtors and their counsel, the DIP Term Loan Agent, the U.S. Trustee and lead counsel to

        any Committee, which notice may be delivered at any time by the DIP ABL Agent (1) in

        connection with the repayment in full in cash of the DIP ABL Obligations and the Prepetition

        ABL Obligations and the termination of all commitments thereunder and all letters of credit

        under the Prepetition ABL Facility and the DIP ABL Facility having been cancelled, backed, or

        cash collateralized in accordance with the terms thereof, and all bank product obligations shall be

        cash collateralized in a manner and amount acceptable to the DIP ABL Agent or the Prepetition


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        ABL Agent (as applicable) or (2) following the occurrence and continuance of any Event of

        Default and, in any case, shall specify that it is a “Carve Out Trigger Notice,” or (ii) by the DIP

        Term Loan Agent to the Debtors and their counsel, the DIP ABL Agent, the U.S. Trustee and

        lead counsel to any Committee, which notice may be delivered at any time by the DIP Term

        Loan Agent (1) in connection with the repayment in full in cash of the DIP Term Loan

        Obligations and the Prepetition Term Loan Obligations or (2) following the occurrence and

        continuance of any Event of Default and, in any event, shall specify that it is a “Carve Out

        Trigger Notice.”

                              (c)     Upon delivery of a Carve Out Trigger Notice, an amount equal to

        the Carve Out (as of the date of the Carve Out Trigger Notice), shall, to the extent reflected in

        the most recent borrowing base certificate delivered to the DIP ABL Agent by the Debtors and

        maintained as part of a reserve against the borrowing base, be funded with the proceeds of the

        DIP ABL Facility (which shall then constitute DIP ABL Obligations and be included in the

        repayment amount) and/or Cash Collateral. Following delivery of a Carve Out Trigger Notice,

        upon the funding of the Carve Out as of the date of the Carve Out Trigger Notice as described

        above, none of the DIP ABL Agent, the DIP Term Loan Agent, the DIP Lenders, and the

        Prepetition Secured Parties shall have any further liability whatsoever for the Carve Out

        (including any amounts described in subsections (a)(i)-(iv) above) or any subordination in

        respect thereof. None of the DIP ABL Agent, the DIP Term Loan Agent, the DIP Lenders, and

        the Prepetition Secured Parties shall be responsible for funding any “success,” “restructuring,”

        “transaction” or similar fee payable to the Debtor’s investment banker or financial advisor, and

        in no event shall any such amounts be paid out of the Carve Out. For the avoidance of doubt, the

        Carve Out shall be senior to the DIP Liens, the DIP Superpriority Claim, the Prepetition Liens,


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        the Adequate Protection Liens and the Adequate Protection Superpriority Claims, and any and all

        other forms of adequate protection, liens or claims securing the DIP Obligations and/or the

        Prepetition Secured Obligations.

                                 (d)    Nothing herein, including the inclusion of line items in the Budget

        for Case Professionals, shall be construed as consent to the allowance of any particular

        professional fees or expense of the Debtors, of any Committee, or of any other person or shall

        affect the right of the DIP Agents, the DIP Lenders, the Prepetition Agents, or the Prepetition

        Secured Lenders to object to the allowance and payment of such fees and expenses. The DIP

        ABL Agent, the DIP Term Loan Agent, the DIP Lenders and the Prepetition Secured Parties

        shall not be responsible for the direct payment or reimbursement of any fees or disbursements of

        any Case Professionals incurred in connection with the Case or any Successor Cases under any

        chapter of the Bankruptcy Code. Nothing in the Interim Order or this Final Order or otherwise

        shall be construed to obligate the DIP ABL Agent, the DIP Term Loan Agent, the DIP Lenders

        or the Prepetition Secured Parties in any way to pay compensation to or to reimburse expenses of

        any Case Professional, or to guarantee that the Debtors have sufficient funds to pay such

        compensation or reimbursement.

                           41.   Limitations on Use of DIP Proceeds, Cash Collateral and Carve Out. The

        DIP Facilities, the DIP Collateral, the Prepetition Collateral, the Cash Collateral and the Carve

        Out may not be used in connection with: (a) preventing, hindering, or delaying any of the DIP

        Agents’, the DIP Lenders’, or the Prepetition Secured Parties’ permitted enforcement or

        realization upon any of the DIP Collateral or Prepetition Collateral in accordance with the DIP

        Documents, the Prepetition Documents, the Interim Order and this Final Order; (b) using or

        seeking to use Cash Collateral or selling or otherwise disposing of DIP Collateral without the


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        consent of the DIP Agents (with respect to the DIP Term Loan Agent, with the consent of the

        Required Lenders) or as permitted by the DIP Documents; (c) using or seeking to use any

        insurance proceeds constituting DIP Collateral without the consent of the DIP Agents (with

        respect to the DIP Term Loan Agent, with the consent of the Required Lenders); (d) incurring

        Indebtedness (as defined in the DIP ABL Agreement or the DIP Term Loan Agreement) without

        the prior consent of the DIP Agents (with respect to the DIP Term Loan Agent, with the consent

        of the Required Lenders), except to the extent permitted under the DIP Agreements; (e) seeking

        to amend or modify any of the rights granted to the DIP Agents, the DIP Lenders, or the

        Prepetition Secured Parties under the Interim Order, this Final Order, the DIP Documents, or the

        Prepetition Documents, including seeking to use Cash Collateral and/or DIP Collateral on a

        contested basis; (f) objecting to or challenging in any way the DIP Liens, DIP Obligations,

        Prepetition Liens, Prepetition Secured Obligations, DIP Collateral (including Cash Collateral) or,

        as the case may be, Prepetition Collateral, or any other claims or liens, held by or on behalf of

        any of the DIP Agents, the DIP Lenders, or the Prepetition Secured Parties, respectively; (g)

        asserting, commencing or prosecuting any claims or causes of action whatsoever, including,

        without limitation, any actions under Chapter 5 of the Bankruptcy Code or applicable state law

        equivalents or actions to recover or disgorge payments, against any of the DIP Agents, the DIP

        Lenders, the Prepetition Secured Parties, or any of their respective affiliates, agents, attorneys,

        advisors, professionals, officers, directors and employees; (h) litigating, objecting to,

        challenging, or contesting in any manner, or raising any defenses to, the validity, extent, amount,

        perfection, priority, or enforceability of any of the DIP Obligations, the DIP Liens, the

        Prepetition Liens, Prepetition Secured Obligations or any other rights or interests of any of the

        DIP Agents, the DIP Lenders, the Prepetition Secured Parties; or (i) seeking to subordinate,


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        recharacterize, disallow or avoid the DIP Obligations or the Prepetition Secured Obligations;

        provided, however, that the Carve Out and such collateral proceeds and loans under the DIP

        Documents may be used for allowed fees and expenses, in an amount not to exceed $50,000 in

        the aggregate (the “Investigation Budget Amount”), incurred solely by a Committee (if

        appointed), in investigating (but not prosecuting or challenging) the validity, enforceability,

        perfection, priority or extent of the Prepetition Liens within sixty (60) calendar days following

        the selection of counsel to a Committee unless otherwise extended by the Court.

                           42.   Payment of Compensation. Nothing herein shall be construed as a consent

        to the allowance of any professional fees or expenses of any Case Professional or shall affect the

        right of the DIP Agents, the DIP Lenders, or the Prepetition Secured Parties to object to the

        allowance and payment of such fees and expenses. So long as an unwaived Event of Default has

        not occurred, the Debtors shall be permitted to pay fees and expenses allowed and payable by

        final order (that has not been vacated or stayed, unless the stay has been vacated) under sections

        328, 330, 331, and 363 of the Bankruptcy Code, as the same may be due and payable, but solely

        to the extent the same are incurred in accordance with (and not in excess of those amounts set

        forth in) the Budget and are reflected as estimates in, and maintained as a reserve under, the most

        recent borrowing base report delivered to the DIP Agents by the Debtors.

                           43.   Effect of Stipulations on Third Parties.

                                 (a)    Generally. The admissions, stipulations, agreements, releases, and

        waivers set forth in the Interim Order and this Final Order (collectively, the “Prepetition Lien

        and Claim Matters”) are and shall be binding on the Debtors, any subsequent trustee, responsible

        person, examiner with expanded powers, any other estate representative, and all creditors and

        parties in interest and all of their successors in interest and assigns, including, without limitation,


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        a Committee (if appointed), unless, and solely to the extent that, a party in interest that has

        sought and obtained standing and the requisite authority to commence a Challenge (as defined

        below) (other than the Debtors, as to which any Challenge is irrevocably waived and

        relinquished) (i) has timely filed the pleadings, and timely commenced the proceeding required

        under the Bankruptcy Code and Bankruptcy Rules, including, without limitation, as required

        pursuant to Part VII of the Bankruptcy Rules (in each case subject to the limitations set forth in

        this paragraph 43 of this Final Order) challenging the Prepetition Lien and Claim Matters (each

        such proceeding or pleading commencing a proceeding or other contested matter, a “Challenge”)

        by the earlier of (A) the date of entry of a confirmation order and (B) no later than (1) for a

        Committee, (if appointed), sixty (60) days from the date of formation of a Committee (if

        appointed), or (2) seventy-five (75) days following the entry of the Interim Order for any other

        party in interest with requisite standing (the earlier to occur of (A) and (B), the “Challenge

        Deadline”), as such applicable date may be extended in writing from time to time in the sole

        discretion of the Prepetition ABL Agent (with respect to the Prepetition ABL Documents) and

        the Prepetition Term Loan Agent (with respect to the Prepetition Term Loan Documents), or by

        this Court for good cause shown pursuant to an application filed by a party in interest prior to the

        expiration of the Challenge Deadline, and (ii) this Court enters judgment in favor of the plaintiff

        or movant in any such timely commenced Challenge proceeding and any such judgment has

        become a final judgment that is not subject to any further review or appeal.

                               (b)    Binding Effect. To the extent no Challenge is timely commenced

        by the Challenge Deadline, or to the extent such proceeding does not result in a final and non-

        appealable judgment or order of this Court that is inconsistent with the Prepetition Lien and

        Claim Matters, then, without further notice, motion, or application to, order of, or hearing before,


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        this Court and without the need or requirement to file any proof of claim, the Prepetition Lien

        and Claim Matters shall, pursuant to this Final Order, become binding, conclusive, and final on

        any person, entity, or party in interest in the Cases, and their successors and assigns, and in any

        Successor Case for all purposes and shall not be subject to challenge or objection by any party in

        interest, including, without limitation, a trustee, responsible individual, examiner with expanded

        powers, or other representative of the Debtors’ estates. Notwithstanding anything to the contrary

        herein, if any such proceeding is timely commenced, the Prepetition Lien and Claim Matters

        shall nonetheless remain binding on all other parties in interest and preclusive as provided in

        subparagraph (a) above except to the extent that any of such Prepetition Lien and Claim Matters

        is expressly the subject of a timely filed Challenge, which Challenge is successful as set forth in

        a final judgment as provided in subparagraph (a) above. To the extent any such Challenge

        proceeding is timely commenced, the Prepetition Secured Parties shall be entitled to payment of

        the reasonable related costs and expenses, including, but not limited to reasonable attorneys’

        fees, incurred under the Prepetition Documents in defending themselves in any such proceeding

        as adequate protection. Upon a successful Challenge brought pursuant to this paragraph 43, the

        Court may fashion any appropriate remedy.

                           44.   No Third Party Rights. Except as explicitly provided for herein, this Final

        Order does not create any rights for the benefit of any third party, creditor, equity holder or any

        direct, indirect, or incidental beneficiary.

                           45.   Section 506(c) Claims. No costs or expenses of administration which

        have been or may be incurred in the Cases at any time shall be charged against the DIP Agents,

        DIP Lenders, or the Prepetition Secured Parties, or any of their respective claims, the DIP

        Collateral, or the Prepetition Collateral pursuant to sections 105 or 506(c) of the Bankruptcy


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        Code, or otherwise, without the prior written consent of the DIP Agents, DIP Lenders, or

        Prepetition Secured Parties, as applicable, and no such consent shall be implied from any other

        action, inaction, or acquiescence by any such agents or lenders.

                           46.   No Marshaling/Applications of Proceeds. The DIP Agents, DIP Lenders,

        and Prepetition Secured Parties shall not be subject to the equitable doctrine of “marshaling” or

        any other similar doctrine with respect to any of the DIP Collateral or the Prepetition Collateral,

        as the case may be, and proceeds shall be received and applied pursuant to this Final Order and

        the DIP Documents notwithstanding any other agreement or provision to the contrary.

                           47.   Section 552(b). The Prepetition Secured Parties shall each be entitled to

        all of the rights and benefits of section 552(h) of the Bankruptcy Code, and the “equities of the

        case” exception under section 552(b) of the Bankruptcy Code shall not apply to the Prepetition

        Secured Parties, with respect to proceeds, product, offspring or profits of any of the Prepetition

        Collateral.

                           48.   Access to DIP Collateral. Upon expiration of the Remedies Notice Period,

        the DIP Agents, DIP Lenders, and the Prepetition Secured Parties shall be permitted to (a) access

        and recover any and all DIP Collateral, and (b) enter onto any leased premises of any Debtor and

        exercise all of the Debtors’ rights and privileges as lessee under such lease in connection with an

        orderly liquidation of the DIP Collateral, provided, however, in the case of clause (b), the DIP

        Agents, DIP Lenders and/or Prepetition Secured Parties can only enter upon a leased premises

        after an Event of Default in accordance with (i) a separate written agreement by and between the

        DIP Agents, DIP Lenders, and the Prepetition Secured Parties, as applicable, and any applicable

        landlord, (ii) pre-existing rights of the DIP Agents, DIP Lenders, and the Prepetition Secured

        Parties, as applicable, and any applicable landlord under applicable non-bankruptcy law, (iii)


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        consent of the applicable landlord, or (iv) entry of an order of this Court obtained by motion of

        the applicable DIP Agent, DIP Lender, or Prepetition Secured Party on such notice to the

        landlord as shall be required by this Court; provided, however, solely with respect to rent due to

        a landlord of any such leased premises, the DIP Agents, DIP Lenders, and/or the Prepetition

        Secured Parties, as applicable, shall be obligated only to reimburse the Debtors for the payment

        of rent of the Debtors that first accrues after delivery of the Termination Declaration in

        accordance with paragraph 34 herein that that is payable during the period of such occupancy by

        the DIP Agents, DIP Lenders, and/or the Prepetition Secured Parties, as applicable, calculated on

        a daily per diem basis; provided, further, that nothing herein shall relieve the Debtors of their

        obligations pursuant to section 365(d)(3) of the Bankruptcy Code for the payment of rent that

        accrues prior to delivery of the Termination Declaration through and including any assumption

        and/or rejection of any lease. Nothing herein shall require the DIP Agents, DIP Lenders, or the

        Prepetition Secured Parties to assume any lease as a condition to the rights afforded in this

        paragraph.

                           49.   Limits on Lender Liability. Nothing in this Final Order, any of the DIP

        Documents, or any other documents related thereto shall in any way be construed or interpreted

        to impose or allow the imposition upon the DIP Agents, the DIP Lenders or the Prepetition

        Secured Parties of any liability for any claims arising from any activities by the Debtors in the

        operation of their businesses or in connection with the administration of these Cases. The DIP

        Agents, the DIP Lenders and the Prepetition Secured Parties shall not, by reason of having made

        loans under the DIP Facilities or permitting the use of Cash Collateral, be deemed in control of

        the operations of the Debtors or to be acting as a “responsible person” or “owner or operator”

        with respect to the operation or management of the Debtors (as such terms, or any similar terms,


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        are used in the United States Comprehensive Environmental Response, Compensation and

        Liability Act, 29 U.S.C. §§ 9601 et seq., as amended, or any similar federal or state statute).

        Nothing in this Final Order or the DIP Documents shall in any way be construed or interpreted to

        impose or allow the imposition upon the DIP Agents, the DIP Lenders, or any of the Prepetition

        Secured Parties of any liability for any claims arising from the prepetition or postpetition

        activities of any of the Debtors.

                           50.   Insurance Proceeds and Policies. Upon entry of the Interim Order and to

        the fullest extent provided by applicable law, the DIP ABL Agent (on behalf of the DIP ABL

        Lenders), the DIP Term Loan Agent (on behalf of the DIP Term Loan Lenders), the Prepetition

        ABL Agent (on behalf of the Prepetition ABL Lenders), and the Prepetition Term Loan Agent

        (on behalf of the Prepetition Term Loan Lenders), were, and shall continue to be, without any

        further action or notice, named as additional insured, lender loss payee, mortgagee and loss

        payee on each insurance policy maintained by the Debtors that in any way relates to the DIP

        Collateral (which shall not include directors and officers policies).

                           51.   Joint and Several Liability. Nothing in this Final Order shall be construed

        to constitute a substantive consolidation of any of the Debtors’ estates, it being understood,

        however, that the Borrower and Guarantors shall be jointly and severally liable for the

        obligations hereunder and all DIP Obligations in accordance with the terms hereof and of the

        DIP Facilities and the DIP Documents.

                           52.   No Superior Rights of Reclamation. In light of the integrated nature of the

        DIP Facilities and the Prepetition Documents, the right of a seller of goods to reclaim such goods

        under section 546(c) of the Bankruptcy Code is not a Permitted Prior Lien; rather, any such

        alleged claim arising or asserted as a right of reclamation (whether asserted under section 546(c)


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        of the Bankruptcy Code or otherwise) shall have the same rights and priority with respect to the

        DIP Liens as such claim had with the Prepetition Liens.

                           53.   Rights Preserved. Notwithstanding anything herein to the contrary, the

        entry of this Final Order is without prejudice to, and does not constitute a waiver of, expressly or

        implicitly: (a) the DIP Agents’, DIP Lenders’ and Prepetition Secured Parties’ right to seek any

        other or supplemental relief in respect of the Debtors; (b) any of the rights of any of the DIP

        Agents, DIP Lenders and/or the Prepetition Secured Parties under the Bankruptcy Code or under

        non-bankruptcy law, including, without limitation, the right to (i) request modification of the

        automatic stay of section 362 of the Bankruptcy Code, (ii) request dismissal of any of the Cases

        or Successor Cases, conversion of any of the Cases to cases under Chapter 7, or appointment of a

        Chapter 11 trustee or examiner with expanded powers, or (iii) propose, subject to the provisions

        of section 1121 of the Bankruptcy Code, a Chapter 11 plan or plans; or (c) subject to the

        Intercreditor Agreement, any other rights, claims or privileges (whether legal, equitable or

        otherwise) of any of the DIP Agents, DIP Lenders or Prepetition Secured Parties.

                           54.   No Waiver by Failure to Seek Relief. The failure of the DIP Agents, DIP

        Lenders, or Prepetition Secured Parties to seek relief or otherwise exercise their rights and

        remedies under the Interim Order, this Final Order, the DIP Documents, the Prepetition

        Documents, or applicable law, as the case may be, shall not constitute a waiver of any of the

        rights hereunder, thereunder, or otherwise of the DIP Agent, DIP Lenders, Prepetition Secured

        Parties, a Committee (if appointed) or any party in interest.

                           55.   Binding Effect of Final Order. Subject to paragraph 43, immediately upon

        execution by this Court, the terms and provisions of this Final Order shall become valid and

        binding upon and inure to the benefit of the Debtors, DIP Agents, DIP Lenders, Prepetition


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        Secured Parties, all other creditors of any of the Debtors, any Committee (or any other court

        appointed committee) appointed in the Cases, and all other parties-in-interest and their respective

        successors and assigns, including any trustee or other fiduciary hereafter appointed in any of the

        Cases, any Successor Cases, or upon dismissal of any Case or Successor Case.

                           56.   No Modification of Final Order. Until and unless the DIP Obligations and

        the Prepetition Secured Obligations have been indefeasibly paid in full in cash, and all letters of

        credit under the DIP Facilities shall have been cancelled, backed, or cash collateralized in

        accordance with the terms thereof (such payment being without prejudice to any terms or

        provisions contained in the DIP Facilities which survive such discharge by their terms), and all

        commitments to extend credit under the DIP Facilities have been terminated, the Debtors

        irrevocably waive the right to seek and shall not seek or consent to, directly or indirectly: (a)

        without the prior written consent of the DIP Agents (with respect to the DIP Term Loan Agent,

        with the consent of the Required Lenders) or the Prepetition Agents, (i) any modification, stay,

        vacatur or amendment to the Interim Order or this Final Order; or (ii) a priority claim for any

        administrative expense or unsecured claim against the Debtors (now existing or hereafter arising

        of any kind or nature whatsoever, including, without limitation any administrative expense of the

        kind specified in sections 503(b), 506(c), 507(a) or 507(b) of the Bankruptcy Code) in any of the

        Cases or Successor Cases, equal or superior to the DIP Superpriority Claims or Adequate

        Protection Superpriority Claims, other than the Carve Out; (b) without the prior written consent

        of the DIP Agents (with respect to the DIP Term Loan Agent, with the consent of the Required

        Lenders), or the Prepetition Agents, for any order allowing use of Cash Collateral (other than as

        permitted during the Remedies Notice Period) resulting from DIP Collateral or Prepetition

        Collateral in a manner inconsistent with the Interim Order or this Final Order, as applicable; (c)


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        without the prior written consent of the DIP Agents (with respect to the DIP Term Loan Agent,

        with the consent of the Required Lenders), any lien on any of the DIP Collateral with priority

        equal or superior to the DIP Liens, except as specifically provided in the DIP Documents; or (d)

        without the prior written consent of the Prepetition Agents, any lien on any of the DIP Collateral

        with priority equal or superior to the Prepetition Liens or Adequate Protection Liens. The

        Debtors irrevocably waive any right to seek any amendment, modification or extension of the

        Interim Order or this Final Order without the prior written consent, as provided in the foregoing,

        of the DIP Agents (with respect to the DIP Term Loan Agent, with the consent of the Required

        Lenders), or the Prepetition Agents, and no such consent shall be implied by any other action,

        inaction or acquiescence of the DIP Agents or the Prepetition Agents.

                           57.   Continuing Effect of Intercreditor Agreement. The Debtors, DIP Agents,

        DIP Lenders and Prepetition Secured Parties each shall be bound by, and in all respects of the

        DIP Facilities shall be governed by, and be subject to all the terms, provisions and restrictions of

        the Intercreditor Agreement.

                           58.   Comenity. Notwithstanding anything to the contrary in this Final Order,

        the DIP Facility or otherwise, Comenity Capital Bank’s (“Comenity”) rights of setoff and/or

        recoupment with respect to the Private Label Credit Card Plan Agreement dated May 27, 2010

        between Comenity (formerly known as World Financial Capital Bank) and the Debtor, as

        amended (the “Program Agreement”), (a) shall not be subject to any DIP Liens, Adequate

        Protection Liens, Superpriority Claims, or Adequate Protection Superpriority Claims, (b) shall

        not be affected, modified, waived, primed or impaired in any way by this Final Order, and (c) are

        expressly preserved and reserved. Comenity’s rights, remedies, claims and any other relief

        arising from or related to the Program Agreement are expressly preserved and reserved and not


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        modified, waived, or impaired in any way by this Final Order.

                           59.   Final Order Controls. In the event of any inconsistency between the terms

        and conditions of the DIP Documents, the Interim Order and of this Final Order, the provisions

        of this Final Order shall govern and control.

                           60.   Discharge. The DIP ABL Obligations, the DIP Term Loan Obligations,

        and the obligations of the Debtors with respect to the adequate protection provided herein shall

        not be discharged by the entry of an order confirming any plan of reorganization in any of the

        Cases, notwithstanding the provisions of section 1141(d) of the Bankruptcy Code, unless such

        obligations have been indefeasibly paid in full in cash, on or before the effective date of such

        confirmed plan of reorganization, or each of the DIP ABL Agent, DIP Term Loan Agent, DIP

        ABL Lenders, DIP Term Loan Lenders, and each of the Prepetition Agents, as applicable, has

        otherwise agreed in writing.       None of the Debtors shall propose or support any plan of

        reorganization or sale of all or substantially all of the Debtors’ assets, or order confirming such

        plan or approving such sale, that is not conditioned upon the indefeasible payment of the DIP

        ABL Obligations (in the case of the sale of DIP ABL Priority Collateral) and DIP Term Loan

        Obligations (in the case of the sale of DIP Term Priority Collateral), and the payment of the

        Debtors’ obligations with respect to the adequate protection provided for herein, in full in cash

        within a commercially reasonable period of time (and in no event later than the effective date of

        such plan of reorganization or sale) (a “Prohibited Plan or Sale”) without the written consent of

        each of the DIP Agents (with respect to the DIP Term Loan Agent, with the consent of the

        Required Lenders), DIP Lenders, and the Prepetition Agents, as applicable. For the avoidance of

        doubt, the Debtors’ proposal or support of a Prohibited Plan or Sale, or the entry of an order with




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        respect thereto, shall constitute an Event of Default hereunder and under the DIP ABL

        Documents and DIP Term Loan Documents.

                           61.   Survival.   The provisions of this Final Order and any actions taken

        pursuant hereto shall survive entry of any order which may be entered: (a) confirming any plan

        of reorganization in any of the Cases; (b) converting any of the Cases to a case under Chapter 7

        of the Bankruptcy Code; (c) dismissing any of the Cases or any Successor Cases; or (d) pursuant

        to which this Court abstains from hearing any of the Cases or Successor Cases. The terms and

        provisions of this Final Order, including the claims, liens, security interests and other protections

        granted to the DIP Agents, DIP Lenders and Prepetition Secured Parties granted pursuant to this

        Final Order and/or the DIP Documents, notwithstanding the entry of any such order, shall

        continue in the Cases, in any Successor Cases, or following dismissal of the Cases or any

        Successor Cases, and shall maintain their priority as provided by this Final Order until: (i) in

        respect of the DIP ABL Credit Facility, all the DIP ABL Obligations, pursuant to the DIP ABL

        Documents and this Final Order, have been indefeasibly paid in full in cash and all letters of

        credit under the DIP ABL Credit Facility shall have been cancelled or cash collateralized in

        accordance with the terms thereof (such payment being without prejudice to any terms or

        provisions contained in the DIP ABL Credit Facility which survive such discharge by their

        terms), and all commitments to extend credit under the DIP ABL Credit Facility are terminated;

        (ii) in respect of the Prepetition ABL Facility, all of the Prepetition ABL Obligations pursuant to

        the Prepetition ABL Documents and this Final Order, have been indefeasibly paid in full in cash;

        (iii) in respect of the DIP Term Loan Credit Facility, all the DIP Term Loan Obligations,

        pursuant to the DIP Term Loan Documents and this Final Order, have been indefeasibly paid in

        full in cash; and (iv) in respect of the Prepetition Term Loan Agreement, all of the Prepetition


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        Term Loan Obligations pursuant to the Prepetition Term Loan Documents and this Final Order

        have been indefeasibly paid in full in cash.         The terms and provisions concerning the

        indemnification of the DIP Agents and DIP Lenders shall continue in the Cases, in any Successor

        Cases, following dismissal of the Cases or any Successor Cases, following termination of the

        DIP Documents and/or the indefeasible repayment of the DIP Obligations. In addition, the terms

        and provisions of this Final Order shall continue in full force and effect for the benefit of the

        Prepetition Term Loan Parties notwithstanding the repayment in full of or termination of the DIP

        ABL Obligations or the Prepetition ABL Obligations.

                           62.   ABL Fee Letter. The ABL Fee Letter is authorized to be filed under seal

        and shall be provided solely to: (i) the U.S. Trustee; (ii) counsel to any Committee; (iii) this

        Court; and (iv) any other party as may be ordered by this Court after notice and a hearing, or

        agreed by the Debtors and the DIP ABL Agent. Any party who receives the ABL Fee Letter in

        accordance with the Interim Order or this Final Order shall not disclose or otherwise disseminate

        the ABL Fee Letter, or the information contained therein, to any other person or entity and shall

        keep the ABL Fee Letter and the information contained therein strictly confidential.

                           63.   Nunc Pro Tunc Effect of this Final Order.       This Final Order shall

        constitute findings of fact and conclusions of law pursuant to Bankruptcy Rule 7052 and shall

        take effect and be enforceable nunc pro tunc to the Petition Date immediately upon execution

        thereof.




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                        64.     Retention of Jurisdiction. The Court has and will retain jurisdiction to

        enforce the terms of, any and all matters arising from or related to the DIP Facilities, and/or this

        Final Order.




01:23968147.2    Dated: December 18th, 2018                  LAURIE SELBER SILVERSTEIN
                 Wilmington, Delaware
        DB1/ 100762417.7                                77   UNITED STATES BANKRUPTCY JUDGE
